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                          EXHIBIT 4
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     c12)   United States Patent                                                   (10)   Patent No.:                  US 8,828,427 B2
            Tutino et al.                                                          (45)   Date of Patent:                          Sep.9,2014

     (54)   FORMULATIONS OF 4-AMIN0-2-(2,6-                                            USPC ........................................... 424/452; 514/323
            DIOXOPIPERIDINE-3-YL)ISOINDOLINE-1,3-                                      See application file for complete search history.
            DIONE
                                                                                (56)                    References Cited
     (75)   Inventors: Anthony Tutino, New Providence, NJ
                       (US); Michael T. Kelly, Lake                                             U.S. PATENT DOCUMENTS
                       Hopatcong, OH (US)                                            5,593,696 A *        111997 McNally eta!. .............. 424/472
                                                                                 2007/0155791 Al *        7/2007 Zeldis eta!. .................. 514/323
     (73)   Assignee: Celgene Corporation, Sunnnit, NJ (US)
                                                                                             FOREIGN PATENT DOCUMENTS
     ( *)   Notice:       Subject to any disclaimer, the term of this
                          patent is extended or adjusted under 35               wo        WO 2006/058008 Al           6/2006
                          U.S.C. 154(b) by 398 days.
                                                                                                   OTHER PUBLICATIONS
     (21)   Appl. No.: 12/783,390                                               Remington's Pharmaceutical Sciences 17th Edition, Published 1985,
                                                                                pp. 1613-1615 and 1625-1626.*
     (22)   Filed:        May 19,2010                                           Crane and List, "Immunomodulatory Drugs," Cancer Investigation
                                                                                23(7): 625-634 (2005).
     (65)                    Prior Publication Data
            US 2011/0045064 AI              Feb. 24, 2011
                                                                                * cited by examiner
                                                                                Primary Examiner- Richard Schnizer
                      Related U.S. Application Data                             Assistant Examiner- Alma Pi pic
     (60)   Provisional application No. 61/179,678, filed on May                (74) Attorney, Agent, or Firm- Jones Day
            19, 2009.
                                                                                (57)                       ABSTRACT
     (51)   Int. Cl.                                                            Pharmaceutical compositions and single unit dosage forms of
            A61K 311454                   (2006.01)                             4-amino-2-(2, 6-dioxopiperidine-3-yl )isoindoline-1 ,3 -diane,
            A61K9/48                      (2006.01)                             or a pharmaceutically acceptable stereoisomer, prodrug, salt,
     (52)   U.S. Cl.                                                            solvate, hydrate, or clathrate, are provided herein. Also pro-
            USPC ........................................... 424/452; 514/323   vided are methods of treating, managing, or preventing vari-
     (58)   Field of Classification Search                                      ous disorders, such as cancer or an inflannnatory disease.
            CPC ..... A61K 31/454; A61K 47/26; A61K 47/36;
                                           A61K 9/4858; A61K 9/4866                                12 Claims, No Drawings
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                                                          US 8,828,427 B2
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          FORMULATIONS OF 4-AMIN0-2-(2,6-                                    prodrug, salt, solvate, hydrate, or clathrate thereof, in the
       DIOXOPIPERIDINE-3-YL)ISOINDOLINE-1,3-                                 dosage forms described herein.
                     DIONE
                                                                                                     3 .1. Definitions
     This application claims priority to U.S. Provisional Appli-
   cation No. 61/179,678, filed May 19, 2009, the entirety of                   As used herein and unless otherwise indicated, a compo-
   which is incorporated herein by reference.                                sition that is "substantially free" of a compound means that
                                                                             the composition contains less than about 20 percent by
                              1. FIELD                                       weight, more preferably less than about 10 percent by weight,
                                                                        10   even more preferably less than about 5 percent by weight, and
      Provided herein are formulations and dosage forms of                   most preferably less than about 3 percent by weight of the
   pomalidomide, i.e., 4-amino-2-(2,6-dioxopiperidine-3-yl)                  compound.
   isoindoline-1 ,3-dione or CC-404 7. Methods of using the for-                As used herein and unless otherwise indicated, the term
   mulations and dosage forms are also provided herein.                      "stereomerically pure" means a composition that comprises
                                                                        15
                                                                             one stereoisomer of a compound and is substantially free of
                         2. BACKGROUND                                       other stereoisomers of that compound. For example, a stereo-
                                                                             merically pure composition of a compound having one chiral
      Drug substances are usually administered as part of a for-             center will be substantially free of the opposite enantiomer of
   mulation in combination with one or more other agents that           20   the compound. A stereomerically pure composition of a com-
   serve varied and specialized pharmaceutical functions. Dos-               pound having two chiral centers will be substantially free of
   age forms of various types may be made through selective use              other diastereomers of the compound. A typical stereomeri-
   of pharmaceutical excipients. As pharmaceutical excipients                cally pure compound comprises greater than about 80 percent
   have various functions and contribute to the pharmaceutical               by weight of one stereoisomer of the compound and less than
   formulations in many different ways, e.g., solubilization,           25   about 20 percent by weight of other stereoisomers of the
   dilution, thickening, stabilization, preservation, coloring, fla-         compound, more preferably greater than about 90 percent by
   voring, etc. The properties that are commonly considered                  weight of one stereoisomer of the compound and less than
   when formulating an active drug substance include bioavail-               about 10 percent by weight of the other stereoisomers of the
   ability, ease of manufacture, ease of administration, and sta-            compound, even more preferably greater than about 95 per-
   bility of the dosage form. Due to the varying properties of the      30   cent by weight of one stereoisomer of the compound and less
   active drug substance to be formulated, dosage forms typi-                than about 5 percent by weight of the other stereoisomers of
   cally require pharmaceutical excipients that are uniquely tai-            the compound, and most preferably greater than about 97
   lored to the active drug substance in order to achieve advan-             percent by weight of one stereoisomer of the compound and
   tageous physical and pharmaceutical properties.                           less than about 3 percent by weight of the other stereoisomers
      Pomalidomide, which is also known as CC-404 7, is chemi-          35   of the compound.
   cally named 4-amino-2-(2,6-dioxopiperidine-3-yl)isoindo-                     As used herein and unless otherwise indicated, the term
                                                                             "enantiomerically pure" means a stereomerically pure com-
   line-1,3-dione. Pomalidomide is an immunomodulatory
                                                                             position of a compound having one chiral center.
   compound that inhibits, for example, LPS induced monocyte
                                                                                As used herein, unless otherwise specified, the term "phar-
   TNFa, IL-l~, IL-12, IL-6, MIP-1, MCP-1, GM-CSF, G-CSF,
                                                                        40   maceutically acceptable salt( s)," as used herein includes, but
   and COX-2 production. The compound is also known to                       is not limited to, salts of acidic or basic moieties of thalido-
   co-stimulate the activation of T-cells. Pomalidomide and                  mide. Basic moieties are capable of forming a wide variety of
   method of synthesizing the compound are described, e.g., in               salts with various inorganic and organic acids. The acids that
   U.S. Pat. No. 5,635,517, the entirety of which is incorporated            can be used to prepare pharmaceutically acceptable acid addi-
   herein by reference.                                                 45   tion salts of such basic compounds are those that form non-
      Due to its diversified pharmacological properties, pomali-             toxic acid addition salts, i.e., salts containing pharmacologi-
   domide is useful in treating, preventing, and/or managing                 cally acceptable anions. Suitable organic acids include, but
   various diseases or disorders. Thus, a need exists as to dosage           are not limited to, maleic, fumaric, benzoic, ascorbic, suc-
   forms of pomalidomide having advantageous physical and                    cinic, acetic, formic, oxalic, propionic, tartaric, salicylic, cit-
   pharmaceutical properties.                                           50   ric, gluconic, lactic, mandelic, cinnamic, oleic, tannic, aspar-
                                                                             tic, stearic, palmitic, glycolic, glutamic, gluconic, glucaronic,
                           3.SUMMARY                                         saccharic, isonicotinic, methanesulfonic, ethanesulfonic,
                                                                             p-toluenesulfonic, benzenesulfonic acids, or pamoic (i.e.,
      Provided herein are pharmaceutical dosage forms of poma-               1,1 '-methylene-bis-(2-hydroxy-3-naphthoate) acids. Suit-
   lidomide, or a pharmaceutically acceptable stereoisomer,             55   able inorganic acids include, but are not limited to, hydro-
   prodrug, salt, solvate, hydrate, or clathrate thereof. Also pro-          chloric, hydrobromic, hydroiodic, sulfuric, phosphoric, or
   vided herein are methods of treating, managing, or preventing             nitric acids. Compounds that include an amine moiety can
   diseases and conditions such as, but not limited to, cancer,              form pharmaceutically acceptable salts with various amino
   pain, Macular Degeneration, a skin disease, a pulmonary                   acids, in addition to the acids mentioned above. Chemical
   disorder, an asbestos-related disorder, a parasitic disease, an      60   moieties that are acidic in nature are capable of forming base
   immunodeficiency disorder, a CNS disorder, CNS injury,                    salts with various pharmacologically acceptable cations.
   atherosclerosis, a sleep disorder, hemoglobinopathy, anemia,              Examples of such salts are alkali metal or alkaline earth metal
   an inflammatory disease, an autoimmune disease, a viral dis-              salts and, particularly, calcium, magnesium, sodium, lithium,
   ease, a genetic disease, an allergic disease, a bacterial disease,        zinc, potassium, or iron salts.
   an ocular neovascular disease, a choroidal neovascular dis-          65      As used herein, and unless otherwise specified, the term
   ease, a retina neovascular disease, and rubeosis, using poma-             "solvate" means a compound provided herein or a salt
   lidomide, or a pharmaceutically acceptable stereoisomer,                  thereof, that further includes a stoichiometric or non-sto-
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   ichiometric amount of solvent bound by non-covalent inter-                terms encompass modulating the threshold, development
   molecular forces. Where the solvent is water, the solvate is a            and/or duration of the disease or disorder, or changing the
   hydrate.                                                                  way that a patient responds to the disease or disorder.
      As used herein and unless otherwise indicated, the teen                   As used herein, and unless otherwise specified, the term
   "prodrug" means a derivative of a compound that can hydro-                "about," when used in connection with doses, amounts, or
   lyze, oxidize, or otherwise react under biological conditions             weight percent of ingredients of a composition or a dosage
   (in vitro or in vivo) to provide the compound. Examples of                form, means dose, amount, or weight percent that is recog-
   prodrugs include, but are not limited to, derivatives of thali-           nized by those of ordinary skill in the art to provide a phar-
   domide that include biohydrolyzable moieties such as biohy-               macological effect equivalent to that obtained from the speci-
   drolyzable amides, biohydrolyzable esters, biohydrolyzable           10   fied dose, amount, or weight percent is encompassed.
   carbamates, biohydrolyzable carbonates, biohydrolyzable                   Specifically, the term "about" contemplates a dose, amount,
   ureides, and biohydrolyzable phosphate analogues. Other                   or weight percent within 30%, 25%, 20%, 15%, 10%, or 5%
   examples of prodrugs include derivatives of thalidomide that              of the specified dose, amount, or weight percent is encom-
   include -NO, -N0 2 , -ONO, or -ON0 2 moieties.                            passed.
      As used herein and unless otherwise indicated, the terms          15      As used herein, and unless otherwise specified, the term
   "biohydrolyzable carbamate," "biohydrolyzable carbonate,"                 "stable," when used in connection with a formulation or a
   "biohydrolyzable ureide," "biohydrolyzable phosphate"                     dosage form, means that the active ingredient of the formu-
   mean a carbamate, carbonate, ureide, or phosphate, respec-                lation or dosage form remains solubilized for a specified
   tively, of a compound that either: 1) does not interfere with the         amount of time and does not significantly degrade or aggre-
   biological activity of the compound but can confer upon that         20   gate or become otherwise modified (e.g., as determined, for
   compound advantageous properties in vivo, such as uptake,                 example, by HPLC). In some embodiments, about 70 percent
   duration of action, or onset of action; or 2) is biologically             or greater, about 80 percent or greater or about 90 percent or
   inactive but is converted in vivo to the biologically active              greater of the compound remains solubilized after the speci-
   compound. Examples of biohydrolyzable carbamates                          fied period.
   include, but are not limited to, lower alkylamines, substituted      25
   ethylenediamines, aminoacids, hydroxyalkylamines, hetero-                                4. DETAILED DESCRIPTION
   cyclic and heteroaromatic amines, and poly ether amines.
      As used herein and unless otherwise indicated, the term                   Provided herein are pharmaceutical dosage forms of poma-
   "biohydrolyzable ester" means an ester of a compound that                 lidomide, or a pharmaceutically acceptable stereoisomer,
   either: 1) does not interfere with the biological activity of the    30   prodrug, salt, solvate, hydrate, or clathrate thereof. In some
   compound but can confer upon that compound advantageous                   embodiments, the dosage forms are suitable for oral admin-
   properties in vivo, such as uptake, duration of action, or onset          istration to a patient. In other embodiments, the dosage forms
   of action; or 2) is biologically inactive but is converted in vivo        provided herein exhibit advantageous physical and/or phar-
   to the biologically active compound. Examples ofbiohydro-                 macological properties. Such properties include, but are not
   lyzable esters include, but are not limited to, lower alkyl          35   limited to, ease of assay, content uniformity, flow properties
   esters, alkoxyacyloxy esters, alkyl acylamino alkyl esters,               for manufacture, dissolution and bioavailability, and stability.
   and choline esters.                                                       In certain embodiments, the dosage forms provided herein
      As used herein and unless otherwise indicated, the term                have a shelflife of at least about 12 months, at least about 24
   "biohydrolyzable amide" means an amide of a compound that                 months, or at least about 36 months without refrigeration.
   either: 1) does not interfere with the biological activity of the    40      Also provided herein are kits comprising pharmaceutical
   compound but can confer upon that compound advantageous                   compositions and dosage forms provided herein. Also pro-
   properties in vivo, such as uptake, duration of action, or onset          vided herein are methods of treating, managing, and/or pre-
   of action; or 2) is biologically inactive but is converted in vivo        venting a disease or condition, which comprises administer-
   to the biologically active compound. Examples ofbiohydro-                 ing to a patient in need thereof a pharmaceutical composition
   lyzable amides include, but are not limited to, lower alkyl          45   or a dosage form provided herein.
   amides, a-amino acid amides, alkoxyacyl amides, and alky-
   laminoalkylcarbonyl amides.                                                           4.1 Compositions and Dosage Forms
      As used herein, and unless otherwise specified, the terms
   "treat," "treating" and "treatment" contemplate an action that               In one embodiment, provided herein is a single unit dosage
   occurs while a patient is suffering from the specified disease       50   form suitable for oral administration to a human comprising:
   or disorder, which reduces the severity of the disease or dis-            an amount equal to or greater than about 1, 5, 10, 15, 20, 25,
   order, or retards or slows the progression of the disease or              30, 50, 75, 100, 150, or 200 mg of an active ingredient; and a
   disorder.                                                                 pharmaceutically acceptable excipient; wherein the active
      As used herein, and unless otherwise specified, the terms              ingredient is pomalidomide, or a pharmaceutically accept-
   "prevent," "preventing" and "prevention" refer to the preven-        55   able stereoisomer, prodrug, salt, solvate, or clathrate thereof.
   tion of the onset, recurrence or spread of a disease or disorder,         In some embodiments, the amount of active ingredient is from
   or of one or more symptoms thereof. The terms "prevent,"                  about 0.1 to about 100 mg, from about 0.5 to about 50 mg,
   "preventing" and "prevention" contemplate an action that                  from, about 0.5 to about 25 mg, from about 1 mg to about 10
   occurs before a patient begins to suffer from the specified               mg, from about 0.5 to about 5 mg, or from about 1 mg to about
   disease or disorder, which inhibits or reduces the severity of       60   5 mg. In one embodiment, the amount of the active ingredient
   the disease or disorder.                                                  is about 0.5 mg. In another embodiment, the amount of the
      As used herein, and unless otherwise indicated, the terms              active ingredient is about 1 mg. In another embodiment, the
   "manage," "managing" and "management" encompass pre-                      amount of the active ingredient is about 2 mg. In another
   venting the recurrence of the specified disease or disorder in            embodiment, the amount of the active ingredient is about 5
   a patient who has already suffered from the disease or disor-        65   mg.
   der, and/or lengthening the time that a patient who has suf-                 Pharmaceutical compositions and formulations provided
   fered from the disease or disorder remains in remission. The              herein can be presented as discrete dosage forms, such as
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   capsules (e.g., gelcaps ), caplets, tablets, troches, lozenges,            from about 0.1 to about 5 weight percent of total weight of the
   dispersions, and suppositories each containing a predeter-                 composition. In another embodiment, pomalidomide, or a
   mined amount of an active ingredient as a powder or in                     pharmaceutically acceptable stereoisomer, prodrug, salt, sol-
   granules, a solution, or a suspension in an aqueous or non-                vate, or clathrate thereof, comprises from about 0.1 to about 3
   aqueous liquid, an oil-in-water emulsion, or a water-in-oil                weight percent of total weight of the composition. In another
   liquid emulsion. Because of their ease of administration, tab-             embodiment, pomalidomide, or a pharmaceutically accept-
   lets, caplets, and capsules represent a preferred oral dosage              able stereoisomer, prodrug, salt, solvate, or clathrate thereof,
   unit forms.                                                                comprises from about 0.5 to about 3 weight percent of total
      Tablets, caplets, and capsules typically contain from about             weight of the composition. In another embodiment, pomali-
   50 mg to about 500 mg of the pharmaceutical composition
                                                                         10   domide, or a pharmaceutically acceptable stereoisomer, pro-
   (i.e., active ingredient and excipient(s)). Capsules can be of
                                                                              drug, salt, solvate, or clathrate thereof, comprises from about
   any size. Examples of standard sizes include #000, #00, #0,
                                                                              0.5 to about 2 weight percent of total weight of the composi-
   #1, #2, #3, #4, and #5. See, e.g., Remington's Pharmaceutical
   Sciences, page 1658-1659 (Alfonso Gennaro ed., Mack Pub-                   tion. In another embodiment, pomalidomide, or a pharmaceu-
   lishing Company, Easton Pa., 18th ed., 1990), which is incor-         15   tically acceptable stereoisomer, prodrug, salt, solvate, or
   porated by reference. In some embodiments, capsules pro-                   clathrate thereof, comprises about 1 weight percent of total
   vided herein are of size #1 or larger, #2 or larger, or #4 or              weight of the composition. In another embodiment, pomali-
   larger.                                                                    domide, or a pharmaceutically acceptable stereoisomer, pro-
      Also provided herein are anhydrous pharmaceutical com-                  drug, salt, solvate, or clathrate thereof, comprises about 0.8
   positions and dosage forms including an active ingredient,            20   weight percent of total weight of the composition. In another
   since water can facilitate the degradation of some com-                    embodiment, pomalidomide, or a pharmaceutically accept-
   pounds. For example, the addition of water (e.g., 5 percent) is            able stereoisomer, prodrug, salt, solvate, or clathrate thereof,
   widely accepted in the pharmaceutical arts as a means of                   comprises about 2 weight percent of total weight of the com-
   simulating shelf-life, i.e., long-term storage in order to deter-          position. In another embodiment, pomalidomide, or a phar-
   mine characteristics such as shelf-life or the stability of for-      25   maceutically acceptable stereoisomer, prodrug, salt, solvate,
   mulations over time. See, e.g., Jens T. Carstensen, Drug Sta-              or clathrate thereof, comprises about 1.7 weight percent of
   bility: Principles & Practice, 2d. Ed., Marcel Dekker, NY,                 total weight of the composition.
   N.Y., 1995, pp. 379-80. In effect, water and heat accelerate                  In one embodiment, the active ingredient and carrier, dilu-
   decomposition. Thus, the effect of water on a formulation can              ent, binder, or filler are directly blended as described herein
   be of great significance since moisture and/or humidity are           30   elsewhere. In another embodiment, the carrier, diluent,
   commonly encountered during manufacture, handling, pack-                   binder, or filler comprises mannitol and/or starch. In one
   aging, storage, shipment, and use of formulations.                         embodiment, the mannitol is spray dried mannitol. In another
      An anhydrous pharmaceutical compositions should be pre-                 embodiment, the starch is pregelatinized starch.
   pared and stored such that the anhydrous nature is main-                      In one embodiment, the carrier, diluent, binder, or filler
   tained. Accordingly, in some embodiments, anhydrous com-              35   comprises from about 70 to about 99 weight percent of total
   positions are packaged using materials known to prevent                    weight of the composition. In another embodiment, the car-
   exposure to water such that they can be included in suitable               rier, diluent, binder, or filler comprises from about 80 to about
   formulary kits. Examples of suitable packaging include, but                99 weight percent of total weight of the composition. In
   are not limited to, hermetically sealed foils, plastic or the like,        another embodiment, the carrier, diluent, binder, or filler
   unit dose containers, blister packs, and strip packs.                 40   comprises from about 85 to about 99 weight percent of total
      In this regard, also provided herein is a method of preparing           weight of the composition. In another embodiment, the car-
   a solid pharmaceutical formulation including an active ingre-              rier, diluent, binder, or filler comprises from about 90 to about
   dient through admixing the active ingredient and an excipient              99 weight percent of total weight of the composition. In
   under anhydrous or low moisture/humidity conditions,                       another embodiment, the carrier, diluent, binder, or filler
   wherein the ingredients are substantially free of water. The          45   comprises from about 95 to about 99 weight percent of total
   method can further include packaging the anhydrous or non-                 weight of the composition. In another embodiment, the car-
   hygroscopic solid formulation under low moisture condi-                    rier, diluent, binder, or filler comprises about 98 weight per-
   tions. By using such conditions, the risk of contact with water            cent of total weight of the composition. In another embodi-
   is reduced and the degradation of the active ingredient can be             ment, the carrier, diluent, binder, or filler comprises about 99
   prevented or substantially reduced.                                   50   weight percent of total weight of the composition.
      Also provided herein are lactose-free pharmaceutical com-                  In one embodiment, the dosage forms provided herein
   positions and dosage forms. Compositions and dosage forms                  comprise both mannitol and starch. In one embodiment, man-
   that comprise an active ingredient that is a primary or second-            nitol and starch comprise from about 70 to about 99 weight
   ary amine are preferably lactose-free. As used herein, the term            percent of total weight of the composition. In another
   "lactose-free" means that the amount of lactose present, if           55   embodiment, mannitol and starch comprise from about 80 to
   any, is insufficient to substantially increase the degradation             about 99 weight percent of total weight of the composition. In
   rate of an active ingredient that is a primary or secondary                another embodiment, mannitol and starch comprise from
   amine. Lactose-free compositions provided herein can com-                  about 85 to about 99 weight percent of total weight of the
   prise excipients which are well known in the art and are listed            composition. In another embodiment, mannitol and starch
   in the USP (XXI)/NF (XVI), which is incorporated herein by            60   comprise from about 90 to about 99 weight percent of total
   reference.                                                                 weight of the composition. In another embodiment, mannitol
      In one embodiment, pomalidomide, or a pharmaceutically                  and starch comprise from about 95 to about 99 weight percent
   acceptable stereoisomer, prodrug, salt, solvate, or clathrate              of total weight of the composition. In another embodiment,
   thereof, comprises from about 0.1 to about 10 weight percent               mannitol and starch comprise about 98 weight percent of total
   of total weight of the composition. In another embodiment,            65   weight of the composition. In another embodiment, mannitol
   pomalidomide, or a pharmaceutically acceptable stereoiso-                  and starch comprise about 99 weight percent of total weight
   mer, prodrug, salt, solvate, or clathrate thereof, comprises               of the composition.
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      In one embodiment, the ratio of mannitol:starch in the                   mg. In one embodiment, the sodium stearyl fumarate is
   dosage form is from about 1: 1 to about 1:1.5. In one embodi-               present at an amount of about 0.16 mg.
   ment, the ratio of mannitol: starch in the dosage form is about                 In one embodiment, provided herein is a dosage form com-
   1: 1.3.                                                                     prising: 1) pomalidomide, or a pharmaceutically acceptable
      In another embodiment, the dosage form comprises a lubri-                stereoisomer, prodrug, salt, solvate, or clathrate thereof,
   cant. In one embodiment, the dosage form comprises about                    present at an amount that provides about 0.5 mg potency of
   0.2, 0.3, 0.5, 0.6, or 0.8 mg oflubricant. In another embodi-               pomalidomide; 2) about 35 mg of pregelatinized starch; 3)
   ment, the dosage form comprises about 0.16, 0.32, 0.64, or                  about 0.16 mg of sodium stearyl fumarate; and 4) spray dried
   0.75 mg of lubricant. In one embodiment, the lubricant is                   mannitol at an amonnt that brings the total weight of the
                                                                          10
   sodium stearyl fumarate (PRUV).                                             dosage form to 62.5 mg. In one embodiment, the dosage form
      In one embodiment, the lubricant, e.g., PRUV, comprises                  is suitable for administration in a size 4 or larger capsule.
   from about 0.01 to about 5 weight percent of total weight of                    In one embodiment, provided herein is a dosage form com-
   the composition. In another embodiment, the lubricant, e.g.,                prising: 1) pomalidomide, or a pharmaceutically acceptable
   PRUV, comprises from about 0.01 to about 1 weight percent              15
                                                                               stereoisomer, prodrug, salt, solvate, or clathrate thereof,
   of total weight of the composition. In another embodiment,                  present at an amount that provides about 1 mg potency of
   the lubricant, e.g., PRUV, comprises from about 0.1 to about                pomalidomide; and 2) a pharmaceutically acceptable excipi-
   1 weight percent of total weight of the composition. In                     ent. In one embodiment, the total weight of the dosage form is
   another embodiment, the lubricant, e.g., PRUV, comprises                    about 125 mg. In one embodiment, the dosage form is suitable
   from about 0.1 to about 0.5 weight percent of total weight of          20   for administration in a size 4 or larger capsule. In one embodi-
   the composition. In another embodiment, the lubricant, e.g.,                ment, the excipient comprises a carrier, diluent, binder, or
   PRUV, comprises from about 0.2 to about 0.3 weight percent                  filler. In one embodiment, the excipients comprise a carrier,
   of total weight of the composition. In another embodiment,                  diluent, binder, or filler and a lubricant.
   the lubricant, e.g., PRUV, comprises about 0.25 weight per-                     In one embodiment where the total weight of the dosage
   cent of total weight of the composition.                               25   form is about 125 mg, the carrier, diluent, binder, or filler
      In some embodiments, because it is typical to obtain poma-               comprises mannitol and/or starch. In one embodiment, the
   lidomide, or a pharmaceutically acceptable stereoisomer,                    excipient comprises both mannitol and starch. In one embodi-
   prodrug, salt, solvate, or clathrate thereof, at a purity of less           ment, where both mannitol and starch are present in the
   than 100%, the formulations and dosage forms provided                       dosage form, the dosage form comprises about 70 mg of
   herein may be defined as compositions, formulations, or dos-           30   starch, and the remaining weight is filled by starch. In one
   age forms that comprise pomalidomide, or a pharmaceuti-                     embodiment, the mannitol is spray dried mannitol. In another
   cally acceptable stereoisomer, prodrug, salt, solvate, or clath-            embodiment, the starch is pregelatinized starch.
   rate thereof, at an amount that provides the potency of a                       In one embodiment where the total weight of the dosage
   specified amount of 100% pure pomalidomide.                                 form is about 125 mg and where a lubricant is present, the
      For example, in one embodiment, provided herein is a                35   lubricant is sodium stearyl fumarate. In one embodiment, the
   single unit dosage form comprising: 1) pomalidomide, or a                   sodium stearyl fumarate is present at an amount of about 0.3
   pharmaceutically acceptable stereoisomer, prodrug, salt, sol-               mg. In one embodiment, the sodium stearyl fumarate is
   vate, or clathrate thereof, present at an amount that provides              present at an amount of about 0.32 mg.
   about 0.5, 1, 2, 3, 4, or 5 mg potency of pomalidomide; and 2)                  In one embodiment, provided herein is a dosage form com-
   about 60, 120, 250, 180, 240, or 300 mg of a carrier, diluent,         40   prising: 1) pomalidomide, or a pharmaceutically acceptable
   binder, or filler, respectively. In one embodiment, the amount              stereoisomer, prodrug, salt, solvate, or clathrate thereof,
   of a carrier, diluent, binder, or filler is about 62, 124, 248, 177,        present at an amount that provides about 1 mg potency of
   236, or 295 mg, respectively.                                               pomalidomide; 2) about 70 mg of pregelatinized starch; 3)
      In one embodiment, provided herein is a dosage form com-                 about 0.32 mg of sodium stearyl fumarate; and 4) spray dried
   prising: 1) pomalidomide, or a pharmaceutically acceptable             45   mannitol at an amonnt that brings the total weight of the
   stereoisomer, prodrug, salt, solvate, or clathrate thereof                  dosage form to 125 mg. In one embodiment, the dosage form
   present at an amount that provides about 0.5 mg potency of                  is suitable for administration in a size 4 or larger capsule.
   pomalidomide; and 2) a pharmaceutically acceptable excipi-                      In one embodiment, provided herein is a dosage form com-
   ent. In one embodiment, the total weight of the dosage form is              prising: 1) pomalidomide, or a pharmaceutically acceptable
   about 62.5 mg. In one embodiment, the dosage form is suit-             50   stereoisomer, prodrug, salt, solvate, or clathrate thereof,
   able for administration in a size 4 or larger capsule. In one               present at an amount that provides about 2 mg potency of
   embodiment, the excipient comprises a carrier, diluent,                     pomalidomide; and 2) a pharmaceutically acceptable excipi-
   binder, or filler. In one embodiment, the excipients comprise               ent. In one embodiment, the total weight of the dosage form is
   a carrier, diluent, binder, or filler and a lubricant.                      about 250 mg. In one embodiment, the dosage form is suitable
      In one embodiment where the total weight of the dosage              55   for administration in a size 2 or larger capsule. In one embodi-
   form is about 62.5 mg, the carrier, diluent, binder, or filler              ment, the excipient comprises a carrier, diluent, binder, or
   comprises mannitol and/or starch. In one embodiment, the                    filler. In one embodiment, the excipients comprise a carrier,
   excipient comprises both mannitol and starch. In one embodi-                diluent, binder, or filler and a lubricant.
   ment, where both mannitol and starch are present in the                         In one embodiment where the total weight of the dosage
   dosage form, the dosage form comprises about 35 mg of                  60   form is about 250 mg, the carrier, diluent, binder, or filler
   starch, and the remaining weight is filled by starch. In one                comprises mannitol and/or starch. In one embodiment, the
   embodiment, the mannitol is spray dried mannitol. In another                excipient comprises both mannitol and starch. In one embodi-
   embodiment, the starch is pregelatinized starch.                            ment, where both mannitol and starch are present in the
      In one embodiment where the total weight of the dosage                   dosage form, the dosage form comprises about 140 mg of
   form is about 62.5 mg and where a lubricant is present, the            65   starch, and the remaining weight is filled by starch. In one
   lubricant is sodium stearyl fumarate. In one embodiment, the                embodiment, the mannitol is spray dried mannitol. In another
   sodium stearyl fumarate is present at an amount of about 0.2                embodiment, the starch is pregelatinized starch.
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       In one embodiment where the total weight of the dosage              starch, and the remaining weight is filled by starch. In one
   form is about 250 mg and where a lubricant is present, the              embodiment, the mannitol is spray dried mannitol. In another
   lubricant is sodium stearyl fumarate. In one embodiment, the            embodiment, the starch is pregelatinized starch.
   sodium stearyl fumarate is present at an amount of about 0.6                In one embodiment where the total weight of the dosage
   mg. In one embodiment, the sodium stearyl fumarate is                   form is about 240 mg and where a lubricant is present, the
   present at an amount of about 0.64 mg.                                  lubricant is sodium stearyl fumarate. In one embodiment, the
       In one embodiment, provided herein is a dosage form com-            sodium stearyl fumarate is present at an amount of about 0.6
   prising: 1) pomalidomide, or a pharmaceutically acceptable              mg.
   stereoisomer, prodrug, salt, solvate, or clathrate thereof,                 In one embodiment, provided herein is a dosage form com-
   present at an amount that provides about 2 mg potency of           10   prising: 1) pomalidomide, or a pharmaceutically acceptable
   pomalidomide; 2) about 140 mg of pregelatinized starch; 3)              stereoisomer, prodrug, salt, solvate, or clathrate thereof,
   about 0.64 mg of sodium stearyl fumarate; and4) spray dried             present at an amount that provides about 4 mg potency of
   mannitol at an amount that brings the total weight of the               pomalidomide; 2) about 134.4 mg of pregelatinized starch; 3)
   dosage form to 250 mg. In one embodiment, the dosage form               about 0.6 mg of sodium stearyl fumarate; and 4) spray dried
   is suitable for administration in a size 2 or larger capsule.      15   mannitol at an amount that brings the total weight of the
       In one embodiment, provided herein is a dosage form com-            dosage form to 240 mg. In one embodiment, the dosage form
   prising: 1) pomalidomide, or a pharmaceutically acceptable              is suitable for administration in a size 2 or larger capsule.
   stereoisomer, prodrug, salt, solvate, or clathrate thereof,                 In one embodiment, provided herein is a dosage form com-
   present at an amount that provides about 3 mg potency of                prising: 1) pomalidomide, or a pharmaceutically acceptable
   pomalidomide; and 2) a pharmaceutically acceptable excipi-         20   stereoisomer, prodrug, salt, solvate, or clathrate thereof,
   ent. In one embodiment, the total weight of the dosage form is          present at an amount that provides about 5 mg potency of
   about 180 mg. In one embodiment, the dosage form is suitable            pomalidomide; and 2) a pharmaceutically acceptable excipi-
   for administration in a size 2 or larger capsule. In one embodi-        ent. In one embodiment, the total weight of the dosage form is
   ment, the excipient comprises a carrier, diluent, binder, or            about 300 mg. In one embodiment, the dosage form is suitable
   filler. In one embodiment, the excipients comprise a carrier,      25   for administration in a size 1 or larger capsule. In one embodi-
   diluent, binder, or filler and a lubricant.                             ment, the excipient comprises a carrier, diluent, binder, or
       In one embodiment where the total weight of the dosage              filler. In one embodiment, the excipients comprise a carrier,
   form is about 180 mg, the carrier, diluent, binder, or filler           diluent, binder, or filler and a lubricant.
   comprises mannitol and/or starch. In one embodiment, the                    In one embodiment where the total weight of the dosage
   excipient comprises both mannitol and starch. In one embodi-       30   form is about 300 mg, the carrier, diluent, binder, or filler
   ment, where both mannitol and starch are present in the                 comprises mannitol and/or starch. In one embodiment, the
   dosage form, the dosage form comprises about 100 mg of                  excipient comprises both mannitol and starch. In one embodi-
   starch, and the remaining weight is filled by starch. In one            ment, where both mannitol and starch are present in the
   embodiment, the mannitol is spray dried mannitol. In another            dosage form, the dosage form comprises about 168 mg of
   embodiment, the starch is pregelatinized starch.                   35   starch, and the remaining weight is filled by starch. In one
       In one embodiment where the total weight of the dosage              embodiment, the mannitol is spray dried mannitol. In another
   form is about 180 mg and where a lubricant is present, the              embodiment, the starch is pregelatinized starch.
   lubricant is sodium stearyl fumarate. In one embodiment, the                In one embodiment where the total weight of the dosage
   sodium stearyl fumarate is present at an amount of about 0.5            form is about 300 mg and where a lubricant is present, the
   mg. In one embodiment, the sodium stearyl fumarate is              40   lubricant is sodium stearyl fumarate. In one embodiment, the
   present at an amount of about 0.45 mg.                                  sodium stearyl fumarate is present at an amount of about 0.8
       In one embodiment, provided herein is a dosage form com-            mg. In one embodiment, the sodium stearyl fumarate is
   prising: 1) pomalidomide, or a pharmaceutically acceptable              present at an amount of about 0.75 mg.
   stereoisomer, prodrug, salt, solvate, or clathrate thereof,                 In one embodiment, provided herein is a dosage form com-
   present at an amount that provides about 3 mg potency of           45   prising: 1) pomalidomide, or a pharmaceutically acceptable
   pomalidomide; 2) about 100.8 mg of pregelatinized starch; 3)            stereoisomer, prodrug, salt, solvate, or clathrate thereof,
   about 0.45 mg of sodium stearyl fumarate; and 4) spray dried            present at an amount that provides about 5 mg potency of
   mannitol at an amount that brings the total weight of the               pomalidomide; 2) about 168 mg of pregelatinized starch; 3)
   dosage form to 180 mg. In one embodiment, the dosage form               about 0.75 mg of sodium stearyl fumarate; and 4) spray dried
   is suitable for administration in a size 2 or larger capsule.      50   mannitol at an amount that brings the total weight of the
       In one embodiment, provided herein is a dosage form com-            dosage form to 300 mg. In one embodiment, the dosage form
   prising: 1) pomalidomide, or a pharmaceutically acceptable              is suitable for administration in a size 1 or larger capsule.
   stereoisomer, prodrug, salt, solvate, or clathrate thereof,                 In another embodiment, provided herein is a dosage form
   present at an amount that provides about 4 mg potency of                comprising pomalidomide, or a pharmaceutically acceptable
   pomalidomide; and 2) a pharmaceutically acceptable excipi-         55   stereoisomer, prodrug, salt, solvate, or clathrate thereof,
   ent. In one embodiment, the total weight of the dosage form is          present at an amount that provides about 0.5 mg potency of
   about 240 mg. In one embodiment, the dosage form is suitable            pomalidomide, which is stable for a period of at least about
   for administration in a size 2 or larger capsule. In one embodi-        12, about 24, or about 36 months without refrigeration. In
   ment, the excipient comprises a carrier, diluent, binder, or            some embodiments, the dosage form comprises mannitol
   filler. In one embodiment, the excipients comprise a carrier,      60   and/or starch. In one embodiment where both starch and
   diluent, binder, or filler and a lubricant.                             mannitol are present in the dosage form, starch is present at an
       In one embodiment where the total weight of the dosage              amount of about 35 mg, and mannitol is present at an amount
   form is about 240 mg, the carrier, diluent, binder, or filler           that brings the total weight of composition to about 62.5 mg.
   comprises mannitol and/or starch. In one embodiment, the                In some embodiments, the dosage form further comprises
   excipient comprises both mannitol and starch. In one embodi-       65   sodium stearyl fumarate at an amount of about 0.2 mg or
   ment, where both mannitol and starch are present in the                 about 0.16 mg. In some embodiments, provided herein is a
   dosage form, the dosage form comprises about 135 mg of                  dosage form comprising: 1) pomalidomide, or a pharmaceu-
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   tically acceptable stereoisomer, prodrug, salt, solvate, or             that brings the total weight of composition to about 300 mg.
   clathrate thereof, present at an amount that provides about 0.5         In some embodiments, the dosage form further comprises
   mg potency of pomalidomide; about 35 mg pregelatinized                  sodium stearyl fumarate at an amount of about 0.8 mg or
   starch; about 0.16 mg sodium stearyl fumarate; and spray                about 0.75 mg. In some embodiments, provided herein is a
   dried mannitol at an amount that brings the total weight of the         dosage form comprising: 1) pomalidomide, or a pharmaceu-
   dosage form to 62.5 mg; wherein the dosage form is stable for           tically acceptable stereoisomer, prodrug, salt, solvate, or
   a period of at least about 12, about 24, or about 36 months             clathrate thereof, present at an amount that provides about 5
   without refrigeration. In one embodiment, the dosage form is            mg potency of pomalidomide; about 168 mg pregelatinized
   suitable for administration in a size 4 or larger capsule.              starch; about 0.75 mg sodium stearyl fumarate; and spray
      In another embodiment, provided herein is a dosage form         10   dried mannitol at an amount that brings the total weight of the
   comprising pomalidomide, or a pharmaceutically acceptable               dosage form to 300 mg; wherein the dosage form is stable for
   stereoisomer, prodrug, salt, solvate, or clathrate thereof,             a period of at least 12, about 24, or about 36 months without
   present at an amount that provides about 1 mg potency of                refrigeration. In one embodiment, the dosage form is suitable
   pomalidomide, which is stable for a period of at least about            for administration in a size 1 or larger capsule.
   12, about 24, or about 36 months without refrigeration. In         15      4 .1.1 Second Active Agents
   some embodiments, the dosage form comprises mannitol                       In certain embodiments, provided herein are compositions
   and/or starch. In one embodiment where both starch and                  and dosage form of pomalidomide, or a pharmaceutically
   mannitol are present in the dosage form, starch is present at an        acceptable stereoisomer, prodrug, salt, solvate, or clathrate
   amount of about 70 mg, and mannitol is present at an amount             thereof, which may further comprise one or more secondary
   that brings the total weight of composition to about 125 mg.       20   active ingredients. Certain combinations may work synergis-
   In some embodiments, the dosage farm further comprises                  tically in the treatment of particular types diseases or disor-
   sodium stearyl fumarate at an amount of about 0.3 mg or                 ders, and conditions and symptoms associated with such dis-
   about 0.32 mg. In some embodiments, provided herein is a                eases or disorders. Pomalidomide, or a pharmaceutically
   dosage form comprising: 1) pomalidomide, or a pharmaceu-                acceptable stereoisomer, prodrug, salt, solvate, or clathrate
   tically acceptable stereoisomer, prodrug, salt, solvate, or        25   thereof, can also work to alleviate adverse effects associated
   clathrate thereof, present at an amount that provides about 1           with certain second active agents, and vice versa.
   mg potency of pomalidomide; about 70 mg pregelatinized                     Specific second active compounds that can be contained in
   starch; about 0.32 mg sodium stearyl fumarate; and spray                the formulations and dosage forms provided herein vary
   dried mannitol at an amount that brings the total weight of the         depending on the specific indication to be treated, prevented
   dosage form to 125 mg; wherein the dosage form is stable for       30   or managed.
   a period of at least about 12, about 24, or about 36 months                For instance, for the treatment, prevention or management
   without refrigeration. In one embodiment, the dosage form is            of cancer, second active agents include, but are not limited to:
   suitable for administration in a size 4 or larger capsule.              semaxanib; cyclosporin; etanercept; doxycycline; bort-
      In another embodiment, provided herein is a dosage form              ezomib; acivicin; aclarubicin; acodazole hydrochloride;
   comprising pomalidomide, or a pharmaceutically acceptable          35   acronine; adozelesin; aldesleukin; altretamine; ambomycin;
   stereoisomer, prodrug, salt, solvate, or clathrate thereof,             ametantrone acetate; amsacrine; anastrozole; anthramycin;
   present at an amount that provides about 2 mg potency of                asparaginase; asperlin; azacitidine; azetepa; azotomycin;
   pomalidomide, which is stable for a period of at least about            batimastat; benzodepa; bicalutamide; bisantrene hydrochlo-
   12, about 24, or about 36 months without refrigeration. In              ride; bisnafide dimesylate; bizelesin; bleomycin sulfate; bre-
   some embodiments, the dosage form comprises mannitol               40   quinar sodium; bropirimine; busulfan; cactinomycin; calus-
   and/or starch. In one embodiment where both starch and                  terone; caracemide; carbetimer; carboplatin; carmustine;
   mannitol are present in the dosage form, starch is present at an        carubicin hydrochloride; carzelesin; cedefingol; celecoxib;
   amount of about 140 mg, and mannitol is present at an amount            chlorambucil; cirolemycin; cisplatin; cladribine; crisnatol
   that brings the total weight of composition to about 250 mg.            mesylate; cyclophosphamide; cytarabine; dacarbazine; dac-
   In some embodiments, the dosage form further comprises             45   tinomycin; daunorubicin hydrochloride; decitabine; dexor-
   sodium stearyl fumarate at an amount of about 0.6 mg or                 maplatin; dezaguanine; dezaguanine mesylate; diaziquone;
   about 0.64 mg. In some embodiments, provided herein is a                docetaxel; doxorubicin; doxorubicin hydrochloride; drolox-
   dosage form comprising: 1) pomalidomide, or a pharmaceu-                ifene; droloxifene citrate; dromostanolone propionate; dua-
   tically acceptable stereoisomer, prodrug, salt, solvate, or             zomycin; edatrexate; eflornithine hydrochloride; elsamitru-
   clathrate thereof, present at an amount that provides about 2      50   cin; enloplatin; enpromate; epipropidine; epirubicin
   mg potency ofpomalidomide; about 140 mg pregelatinized                  hydrochloride; erbulozole; esorubicin hydrochloride; estra-
   starch; about 0.64 mg sodium stearyl fumarate; and spray                mustine; estramustine phosphate sodium; etanidazole; etopo-
   dried mannitol at an amount that brings the total weight of the         side; etoposide phosphate; etoprine; fadrozole hydrochlo-
   dosage form to 250 mg; wherein the dosage form is stable for            ride; fazarabine; fenretinide; floxuridine; fludarabine
   a period of at least about 12, about 24, or about 36 months        55   phosphate; fluorouracil; fluorocitabine; fosquidone; fostrie-
   without refrigeration. In one embodiment, the dosage form is            cin sodium; gemcitabine; gemcitabine hydrochloride;
   suitable for administration in a size 2 or larger capsule.              hydroxyurea; idarubicin hydrochloride; ifosfamide; ilmofos-
      In another embodiment, provided herein is a dosage form              ine; iproplatin; irinotecan; irinotecan hydrochloride; lan-
   comprising pomalidomide, or a pharmaceutically acceptable               reotide acetate; letrozole; leuprolide acetate; liarozole hydro-
   stereoisomer, prodrug, salt, solvate, or clathrate thereof,        60   chloride; lometrexol sodium; lomustine; losoxantrone
   present at an amount that provides about 5 mg potency of                hydrochloride; masoprocol; maytansine; mechlorethamine
   pomalidomide, which is stable for a period of at least about            hydrochloride; megestrol acetate; melengestrol acetate; mel-
   12, about 24, or about 36 months without refrigeration. In              phalan; menogaril; mercaptopurine; methotrexate; methotr-
   some embodiments, the dosage form comprises mannitol                    exate sodium; metoprine; meturedepa; mitindomide; mito-
   and/or starch. In one embodiment where both starch and             65   carcin; mitocromin; mitogillin; mitomalcin; mitomycin;
   mannitol are present in the dosage form, starch is present at an        mitosper; mitotane; mitoxantrone hydrochloride; mycophe-
   amount of about 168 mg, and mannitol is present at an amount            nolic acid; nocodazole; nogalamycin; ormaplatin; oxisuran;
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   paclitaxel; pegaspargase; peliomycin; pentamustine; peplo-               (Gleevec®), imiquimod; immunostimulantpeptides; insulin-
   mycin sulfate; perfosfamide; pipobroman; piposulfan; pirox-              like growth factor-! receptor inhibitor; interferon agonists;
   antrone hydrochloride; plicamycin; plomestane; porfimer                  interferons; interleukins; iobenguane; iododoxorubicin;
   sodium; porfiromycin; prednimustine; procarbazine hydro-                 ipomeanol, 4-; iroplact; irsogladine; isobengazole; isohomo-
   chloride; puromycin; puromycin hydrochloride; pyrazofurin;               halicondrin B; itasetron; jasplakinolide; kahalalide F; lamel-
   riboprine; safingol; safingol hydrochloride; semustine;                  larin-N triacetate; lanreotide; leinamycin; lenograstim; len-
   simtrazene; sparfosate sodium; sparsomycin; spirogerma-                  tinan sulfate; leptolstatin; letrozole; leukemia inhibiting
   niumhydrochloride; spiromustine; spiroplatin; streptonigrin;             factor; leukocyte alpha interferon; leuprolide+estrogen+
   streptozocin; sulofenur; talisomycin; tecogalan sodium;                  progesterone; leuprorelin; levamisole; liarozole; linear
   taxotere; tegafur; teloxantrone hydrochloride; temoporfin;          10   polyamine analogue; lipophilic disaccharide peptide; lipo-
   teniposide; teroxirone; testolactone; thiamiprine; thiogua-              philic platinum compounds; lissoclinamide 7; lobaplatin;
   nine; thiotepa; tiazofurin; tirapazamine; toremifene citrate;            lombricine; lometrexol; lonidamine; losoxantrone; loxorib-
   trestolone acetate; triciribine phosphate; trimetrexate; trime-          ine; lurtotecan; lutetium texaphyrin; lysofylline; lytic pep-
   trexate glucuronate; triptorelin; tubulozole hydrochloride;              tides; maitansine; manr10statin A; marimastat; masoprocol;
   uracil mustard; uredepa; vapreotide; verteporfin; vinblastine       15   maspin; matrilysin inhibitors; matrix metalloproteinase
   sulfate; vincristine sulfate; vindesine; vindesine sulfate; vine-        inhibitors; menogaril; merbarone; meterelin; methioninase;
   pidine sulfate; vinglycinate sulfate; vinleurosine sulfate;              metoclopramide; MIF inhibitor; mifepristone; miltefosine;
   vinorelbine tartrate; vinzolidine sulfate; vinzolidine sulfate;          mirimostim; mitoguazone; mitolactol; mitomycin analogues;
   vorozole; zeniplatin; zinostatin; andzorubicinhydrochloride.             mitonafide; mitotoxin fibroblast growth factor-saporin;
      Other second agents include, but are not limited to: 20-epi-     20   mitoxantrone; mofarotene; molgramostim; Erbitux, human
   1,25 dihydroxyvitamin D3; 5-ethynyluracil; abiraterone;                  chorionic gonadotrophin; monophosphoryllipidA+myobac-
   aclarubicin; acylfulvene; adecypenol; adozelesin; aldesleu-              terium cell wall sk; mopidamol; mustard anticancer agent;
   kin; ALL-TK antagonists; altretamine; ambamustine; ami-                  mycaperoxide B; mycobacterial cell wall extract; myriapor-
   dox; amifostine; aminolevulinic acid; arnrubicin; amsacrine;             one; N-acetyldinaline; N-substituted benzamides; nafarelin;
   anagrelide; anastrozole; andrographolide; angiogenesis              25   nagrestip; naloxone+pentazocine; napavin; naphterpin; nar-
   inhibitors; antagonist D; antagonist G; antarelix; anti-dorsal-          tograstim; nedaplatin; nemorubicin; neridronic acid; niluta-
   izing morphogenetic protein-!; antiandrogen, prostatic car-              mide; nisamycin; nitric oxide modulators; nitroxide antioxi-
   cinoma; antiestrogen; antineoplaston; antisense oligonucle-              dant;        nitrullyn;      oblimersen        (Genasense®);
   otides; aphidicolin glycinate; apoptosis gene modulators;                06-benzylguanine; octreotide; okicenone; oligonucleotides;
   apoptosis regulators; apurinic acid; ara-CDP-DL-PTBA;               30   onapristone; ondansetron; ondansetron; oracin; oral cytokine
   arginine deaminase; amsacrine; atamestane; atrimustine; axi-             inducer; ormaplatin; osaterone; oxaliplatin; oxaunomycin;
   nastatin 1; axinastatin 2; axinastatin 3; azasetron; azatoxin;           paclitaxel; paclitaxel analogues; paclitaxel derivatives;
   azatyrosine; baccatin III derivatives; balanol; batimastat;              palauamine; palmitoylrhizoxin; pamidronic acid; panax-
   BCR/ABL antagonists; benzochlorins; benzoylstaurospo-                    ytriol; panomifene; parabactin; pazelliptine; pegaspargase;
   rine; beta lactam derivatives; beta-alethine; betaclamycin B;       35   peldesine; pentosan polysulfate sodium; pentostatin; pentro-
   betulinic acid; bFGF inhibitor; bicalutamide; bisantrene;                zole; perflubron; perfosfamide; perillyl alcohol; phenazino-
   bisaziridinylspermine; bisnafide; bistratene A; bizelesin;               mycin; phenylacetate; phosphatase inhibitors; picibanil; pilo-
   breflate; bropirimine; budotitane; buthionine sulfoximine;               carpine hydrochloride; pirarubicin; piritrexim; placetin A;
   calcipotriol; calphostin C; camptothecin derivatives; capecit-           placetin B; plasminogen activator inhibitor; platinum com-
   abine; carboxamide-amino-triazole; carboxyamidotriazole;            40   plex; platinum compounds; platinum-triamine complex; par-
   CaRest M3; CARN 700; cartilage derived inhibitor; carze-                 timer sodium; porfiromycin; prednisone; propyl bis-acri-
   lesin; casein kinase inhibitors (ICOS); castanospermine;                 done; prostaglandin J2; proteasome inhibitors; protein
   cecropin B; cetrorelix; chlorins; chloroquinoxaline sulfona-             A-based immune modulator; protein kinase C inhibitor; pro-
   mide; cicaprost; cis-porphyrin; cladribine; clomifene ana-               tein kinase C inhibitors, microalgal; protein tyrosine phos-
   logues; clotrimazole; collismycinA; collismycin B; combre-          45   phatase inhibitors; purine nucleoside phosphorylase inhibi-
   tastatin A4;        combretastatin analogue;         conagenin;          tors; purpurins; pyrazoloacridine; pyridoxylatedhemoglobin
   crambescidin 816; crisnatol; cryptophycin 8; cryptophycinA               polyoxyethylene conjugate; raf antagonists; raltitrexed;
   derivatives; curacin A; cyclopentanthraquinones; cyclo-                  ramosetron; ras farnesyl protein transferase inhibitors; ras
   platam; cypemycin; cytarabine ocfosfate; cytolytic factor;               inhibitors; ras-GAP inhibitor; retelliptine demethylated; rhe-
   cytostatin; dacliximab; decitabine; dehydrodidenmin B;              50   nium Re 186 etidronate; rhizoxin; ribozymes; RII retinamide;
   deslorelin; dexamethasone; dexifosfamide; dexrazoxane;                   rohitukine; romurtide; roquinimex; rubiginone Bl; ruboxyl;
   dexverapamil; diaziquone; didenmin B; didox; diethylnor-                 safingol; saintopin; SarCNU; sarcophytol A; sargramostim;
   spermine; dihydro-5-azacytidine; dihydrotaxol, 9-; dioxamy-              Sdi 1 mimetics; semustine; senescence derived inhibitor 1;
   cin; diphenyl spiromustine; docetaxel; docosanol; dolas-                 sense oligonucleotides; signal transduction inhibitors; sizofi-
   etron; doxifluridine; doxorubicin; droloxifene; dronabinol;         55   ran; sobuzoxane; sodium borocaptate; sodium phenylacetate;
   duocarmycin SA; ebselen; ecomustine; edelfosine; edrecolo-               solverol; somatomedin binding protein; sonermin; sparfosic
   mab; eflomithine; elemene; emitefur; epirubicin; epristeride;            acid; spicamycin D; spiromustine; splenopentin; spongistatin
   estramustine analogue; estrogen agonists; estrogen antago-               1; squalamine; stipiamide; stromelysin inhibitors; sulfi-
   nists; etanidazole; etoposide phosphate; exemestane; fadro-              nosine; superactive vasoactive intestinal peptide antagonist;
   zole; fazarabine; fenretinide; filgrastim; finasteride; fla-        60   suradista; suramin; swainsonine; tallimustine; tamoxifen
   vopiridol;      flezelastine;      fluasterone;     fludarabine;         methiodide; tauromustine; tazarotene; tecogalan sodium;
   fluorodaunorunicin hydrochloride; forfenimex; formestane;                tegafur; tellurapyrylium; telomerase inhibitors; temoporfin;
   fostriecin; fotemustine; gadolinium texaphyrin; gallium                  teniposide; tetrachlorodecaoxide; tetrazomine; thaliblastine;
   nitrate; galocitabine; ganirelix; gelatinase inhibitors; gemcit-         thiocoraline; thrombopoietin; thrombopoietin mimetic; thy-
   abine; glutathione inhibitors; hepsulfam; heregulin; hexam-         65   malfasin; thymopoietin receptor agonist; thymotrinan; thy-
   ethylene bisacetamide; hypericin; ibandronic acid; idarubi-              roid stimulating hormone; tin ethyl etiopurpurin; tira-
   cin; idoxifene; idramantone; ilmofosine; ilomastat; imatinib             pazamine; titanocene bichloride; topsentin; toremifene;
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    translation inhibitors; tretinoin; triacetyluridine; triciribine;           Examples of second active agents that may be used for the
    trimetrexate; triptorelin; tropisetron; turosteride; tyrosine            treatment, prevention and/or management of macular degen-
    kinase inhibitors; tyrphostins; UBC inhibitors; ubenimex;                eration and related syndromes include, but are not limited to,
    urogenital sinus-derived growth inhibitory factor; urokinase             a steroid, a light sensitizer, an integrin, an antioxidant, an
    receptor antagonists; vapreotide; variolin B; velaresol;                 interferon, a xanthine derivative, a growth hormone, a neu-
    veramine; verdins; verteporfin; vinorelbine; vinxaltine;                 trotrophic factor, a regulator of neovascularization, an anti-
    vitaxin; vorozole; zanoterone; zeniplatin; zilascorb; and                VEGF antibody, a prostaglandin, an antibiotic, a phytoestro-
    zinostatin stimalamer.                                                   gen, an anti-inflmatory compound or an antiangiogenesis
       Yet other second active agents include, but are not limited           compound, or a combination thereof. Specific examples
                                                                        10   include, but are not limited to, verteporfin, purlytin, an angio-
    to, 2-methoxyestradiol, telomestatin, inducers of apoptosis in
                                                                             static steroid, rhuFab, interferon-2a, pentoxifylline, tin
    multiple myeloma cells (such as, for example, TRAIL),
                                                                             etiopurpurin, motexafin, lucentis, lutetium, 9-fluoro-11 ,21-
    statins, semaxanib, cyclosporin, etanercept, doxycycline,
                                                                             dihydroxy-16, 17 -1-methylethylidinebis(oxy)pregna-1 ,4-di-
    bortezomib, oblimersen (Genasense®), remicade, docetaxel,                ene-3,20-dione, latanoprost (see U.S. Pat. No. 6,225,348),
    celecoxib, melphalan, dexamethasone (Decadron®), ste-               15   tetracycline and its derivatives, rifamycin and its derivatives,
    raids, gemcitabine, cisplatinum, temozolomide, etoposide,                macrolides, metronidazole (U.S. Pat. Nos. 6,218,369 and
    cyclophosphamide, temodar, carboplatin, procarbazine, glia-              6,015,803), genistein, genistin, 6'-0-Mal genistin, 6'-0-Ac
    del, tamoxifen, topotecan, methotrexate, Arisa®, taxol, taxo-            genistin, daidzein, daidzin, 6'-0-Mal daidzin, daidzin, gly-
    tere, fluorouracil, leucovorin, irinotecan, xeloda, CPT-11,              citein, glycitin, 6'-0-Mal glycitin, biochaninA, formononetin
    interferon alpha, pegylated interferon alpha (e.g., PEG             20   (U.S. Pat. No. 6,001,368), triamcinolone acetamide, dexam-
    INTRON-A), capecitabine, cisplatin, thiotepa, fludarabine,               ethasone (U.S. Pat. No. 5,770,589), thalidomide, glutathione
    carboplatin, liposomal daunorubicin, cytarabine, doxetaxol,              (U.S. Pat. No. 5,632,984), basic fibroblast growth factor
    pacilitaxel, vinblastine, IL-2, GM-CSF, dacarbazine, vinorel-            (bFGF), transforming growth factor b (TGF -b), brain-derived
    bine, zoledronic acid, palmitronate, biaxin, busulphan, pred-            neurotrophic factor (BDNF), plasminogen activator factor
    nisone, bisphosphonate, arsenic trioxide, vincristine, doxo-        25   type 2 (PAI-2), EYE101 (Eyetech Pharmaceuticals),
    rubicin (Doxil®), paclitaxel, ganciclovir, adriamycin,                   LY333531 (Eli Lilly), Miravant, and RETISERT implant
    estramustine sodium phosphate (Emcyt® ), sulindac, and eto-              (Bausch & Lomb). All of the references cited herein are
    poside.                                                                  incorporated in their entireties by reference.
       In another embodiment, examples of specific second                       Examples of second active agents that may be used for the
    agents according to the indications to be treated, prevented, or    30   treatment, prevention and/or management of skin diseases
    managed can be found in the following references, all of                 include, but are not limited to, keratolytics, retinoids, a-hy-
    which are incorporated herein in their entireties: U.S. Pat.             droxy acids, antibiotics, collagen, botulinum toxin, inter-
    Nos. 6,281,230 and 5,635,517; U.S. publication nos. 2004/                feron, steroids, and immunomodulatory agents. Specific
    0220144, 2004/0190609, 2004/0087546, 2005/0203142,                       examples include, but are not limited to, 5-fluorouracil, maso-
    2004/0091455, 2005/0100529, 2005/0214328, 2005/                     35   procol, trichloroacetic acid, salicylic acid, lactic acid, ammo-
    0239842,2006/0154880,2006/0122228, and 2005/0143344;                     nium lactate, urea, tretinoin, isotretinoin, antibiotics, col-
    and U.S. provisional application No. 60/631,870.                         lagen, botulinum toxin, interferon, corticosteroid,
       Examples of second active agents that may be used for the             transretinoic acid and collagens such as human placental
    treatment, prevention and/or management of pain include, but             collagen, animal placental collagen, Dermalogen, AlloDerm,
    are not limited to, conventional therapeutics used to treat or      40   Fascia, Cymetra, Autologen, Zyderm, Zyplast, Resoplast,
    prevent pain such as antidepressants, anticonvulsants, antihy-           and Isola gen.
    pertensives, anxiolytics, calcium channel blockers, muscle                  Examples of second active agents that may be used for the
    relaxants, non-narcotic analgesics, opioid analgesics, anti-             treatment, prevention and/or management of pulmonary hep-
    inflammatories, cox-2 inhibitors, immunomodulatory agents,               ertension and related disorders include, but are not limited to,
    alpha-adrenergic receptor agonists or antagonists, immuno-          45   anticoagulants, diuretics, cardiac glycosides, calcium chan-
    suppressive agents, corticosteroids, hyperbaric oxygen, ket-             nel blockers, vasodilators, prostacyclin analogues, endothelin
    amine, other anesthetic agents, NMDA antagonists, and other              antagonists, phosphodiesterase inhibitors (e.g., PDE V
    therapeutics found, for example, in the Physician's Desk                 inhibitors), endopeptidase inhibitors, lipid lowering agents,
    Reference 2003. Specific examples include, but are not lim-              thromboxane inhibitors, and other therapeutics known to
    ited to, salicylic acid acetate (Aspirin®), celecoxib (Cele-        50   reduce pulmonary artery pressure. Specific examples include,
    brex®), Enbrel®, ketamine, gabapentin (Neurontin®), phe-                 but are not limited to, warfarin (Coumadin®), a diuretic, a
    nyloin      (Dilantin®),      carbamazepine        (Tegretol®),          cardiac glycoside, digoxin-oxygen, diltiazem, nifedipine, a
    oxcarbazepine (Trileptal®), valproic acid (Depakene®),                   vasodilator such as prostacyclin (e.g., prostaglandin I2
    morphine sulfate, hydromorphone, prednisone, griseofulvin,               (PGI2), epoprostenol (EPO, Floran®), treprostinil (Remodu-
    penthonium, alendronate, dyphenhydramide, guanethidine,             55   lin®), nitric oxide (NO), bosentan (Tracleer®), amlodipine,
    ketorolac (Acular®), thyrocalcitonin, dimethylsulfoxide                  epoprostenol (Floran®), treprostinil (Remodulin®), prosta-
    (DMSO), clonidine (Catapress®), bretylium, ketanserin,                   cyclin, tadalafil (Cialis®), simvastatin (Zocor®), omapatrilat
    reserpine, droperidol, atropine, phentolamine, bupivacaine,              (Vanlev®), irbesartan (Avapro®), pravastatin (Pravachol®),
    lidocaine, acetaminophen, nortriptyline (Pamelor®), ami-                 digoxin, L-arginine, iloprost, betaprost, and sildenafil (Via-
    triptyline (Elavil®), imipramine (Tofranil®), doxepin (Sine-        60   gra®).
    quan®), clomipramine (Anafranil®), fluoxetine (Prozac®)                     Examples of second active agents that may be used for the
    sertraline (Zoloft®), naproxen, nefazodone (Serzone®), ven-              treatment, prevention and/or management of asbestos-related
    lafaxine (Effexor®), trazodone (Desyrel®), bupropion (Well-              disorders include, but are not limited to, anthracycline, plati-
    butrin®), mexiletine, nifedipine, propranolol, tramadol, lam-            num, alkylating agent, oblimersen (Genasense®), cisplati-
    otrigine, vioxx, ziconotide, ketamine, dextromethorphan,            65   num, cyclophosphamide, temodar, carboplatin, procarba-
    benzodiazepines, baclofen, tizanidine and phenoxyben-                    zine, gliadel, tamoxifen, topotecan, methotrexate, taxotere,
    zamme.                                                                   irinotecan, capecitabine, cisplatin, thiotepa, fludarabine, car-
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    boplatin, liposomal daunorubicin, cytarabine, doxetaxol,                apazone, zileuton, aurothioglucose, gold sodium thiomalate,
    pacilitaxel, vinblastine, IL-2, GM-CSF, dacarbazine, vinorel-           auranofin, methotrexate, colchicine, allopurinol, probenecid,
    bine, zoledronic acid, palmitronate, Biaxin, busulphan, pred-           sulfinpyrazone and benzbromarone or betamethasone and
    nisone, bisphosphonate, arsenic trioxide, vincristine, doxo-            other glucocorticoids; and an antiemetic agent, such as, but
    rubicin (Doxil®), paclitaxel, ganciclovir, adriamycin,                  not limited to, metoclopromide, domperidone, prochlorpera-
    bleomycin, hyaluronidase, mitomycin C, mepacrine,                       zine, promethazine, chlorpromazine, trimethobenzamide,
    thiotepa, tetracycline and gemcitabine.                                 ondansetron, granisetron, hydroxyzine, acetylleucine mono-
       Examples of second active agents that may be used for the            ethanolamine, alizapride, azasetron, benzquinamide, biet-
    treatment, prevention and/or management of parasitic dis-               anautine, bromopride, buclizine, clebopride, cyclizine,
    eases include, but are not limited to, chloroquine, quinine,       10   dimenhydrinate, diphenidol, dolasetron, meclizine, methal-
    quinidine, pyrimethamine, sulfadiazine, doxycycline, clinda-            latal, metopimazine, nabilone, oxyperndyl, pipamazine, sco-
    mycin, mefloquine, halofantrine, primaquine, hydroxychlo-               polamine, sulpiride, tetrahydrocannabinol, thiethylperazine,
    roquine, proguanil, atovaquone, azithromycin, suramin, pen-             thioproperazine, tropisetron, and a mixture thereof.
    tamidine,       melarsoprol,      nifurtimox,     benznidazole,             Examples of second active agents that may be used for the
    amphotericin B, pentavalent antimony compounds (e.g.,              15   treatment, prevention and/or management of CNS injuries
    sodium stiboglucuronate ), interferon gamma, itraconazole, a            and related syndromes include, but are not limited to, immu-
    combination of dead promastigotes and BCG, leucovorin,                  nomodulatory agents, immunosuppressive agents, antihyper-
    corticosteroids, sulfonamide, spiramycin, IgG (serology), tri-          tensives, anticonvulsants, fibrinolytic agents, antiplatelet
    methoprim, and sulfamethoxazole.                                        agents, antipsychotics, antidepressants, benzodiazepines,
       Examples of second active agents that may be used for the       20   buspirone, amantadine, and other known or conventional
    treatment, prevention and/or management of immunodefi-                  agents used in patients with CNS injury/damage and related
    ciency disorders include, but are not limited to: antibiotics           syndromes. Specific examples include, but are not limited to:
    (therapeutic or prophylactic) such as, but not limited to, ampi-        steroids (e.g., glucocorticoids, such as, but not limited to,
    cillin, tetracycline, penicillin, cephalosporins, streptomycin,         methylprednisolone, dexamethasone and betamethasone); an
    kanamycin, and erythromycin; antivirals such as, but not           25   anti-inflammatory agent, including, but not limited to,
    limited to, amantadine, rimantadine, acyclovir, and ribavirin;          naproxen sodium, diclofenac sodium, diclofenac potassium,
    immunoglobulin; plasma; immunologic enhancing drugs                     celecoxib, sulindac, oxaprozin, diflunisal, etodolac, meloxi-
    such as, but not limited to, levami sole and isoprinosine;              cam, ibuprofen, ketoprofen, nabumetone, refecoxib, methotr-
    biologics such as, but not limited to, gamma globulin, transfer         exate, leflunomide, sulfasalazine, gold salts, RHo-D Immune
    factor, interleukins, and interferons; hormones such as, but       30   Globulin, mycophenylate mofetil, cyclosporine, azathio-
    not limited to, thymic; and other immunologic agents such as,           prine, tacrolimus, basiliximab, daclizumab, salicylic acid,
    but not limited to, B cell stimulators (e.g., BAFF/BlyS),               acetylsalicylic acid, methyl salicylate, diflunisal, salsalate,
    cytokines (e.g., IL-2, IL-4, and IL-5), growth factors (e.g.,           olsalazine, sulfasalazine, acetaminophen, indomethacin,
    TGF-a), antibodies (e.g., anti-CD40 and IgM), oligonucle-               sulindac, mefenamic acid, meclofenamate sodium, tolmetin,
    otides containing unmethylated CpG motifs, and vaccines            35   ketorolac, dichlofenac, flurbinprofen, oxaprozin, piroxicam,
    (e.g., viral and tumor peptide vaccines).                               meloxicam, ampiroxicam, droxicam, pivoxicam, tenoxicam,
       Examples of second active agents that may be used for the            phenylbutazone, oxyphenbutazone, antipyrine, aminopyrine,
    treatment, prevention and/or management of CNS disorders                apazone, zileuton, aurothioglucose, gold sodium thiomalate,
    include, but are not limited to: opioids; a dopamine agonist or         auranofin, methotrexate, colchicine, allopurinol, probenecid,
    antagonist, such as, but not limited to, Levodopa, L-DOPA,         40   sulfinpyrazone and benzbromarone; a cAMP analog includ-
    cocaine, a-methyl-tyrosine, reserpine, tetrabenazine, ben-              ing, but not limited to, db-cAMP; an agent comprising a
    zotropine, pargyline, fenodolpam mesylate, cabergoline,                 methylphenidate drug, which comprises 1-threo-meth-
    pramipexole dihydrochloride, ropinorole, amantadine hydro-              y lphenidate,     d-threo-methylphenidate,      dl-threo-meth-
    chloride, selegiline hydrochloride, carbidopa, pergolide                ylphenidate, 1-erythro-methylphenidate, d-erythro-meth-
    mesylate, Sinemet CR, and Symmetrel; a MAO inhibitor,              45   ylphenidate, dl-erythro-methylphenidate, and a mixture
    such as, but not limited to, iproniazid, clorgyline, phenelzine         thereof; and a diuretic agent such as, but not limited to,
    and isocarboxazid; a COMT inhibitor, such as, but not limited           mannitol, furosemide, glycerol, and urea.
    to, tolcapone and entacapone; a cholinesterase inhibitor, such              Examples of second active agent that may be used for the
    as, but not limited to, physostigmine saliclate, physostigmine          treatment, prevention and/or management of dysfunctional
    sulfate, physostigmine bromide, meostigmine bromide, neo-          50   sleep and related syndromes include, but are not limited to, a
    stigmine methylsulfate, ambenonim chloride, edrophonium                 tricyclic antidepressant agent, a selective serotonin reuptake
    chloride, tacrine, pralidoxime chloride, obidoxime chloride,            inhibitor, an antiepileptic agent (gabapentin, pregabalin, car-
    trimedoxime bromide, diacetyl monoxim, endrophonium,                    bamazepine, oxcarbazepine, levitiracetam, topiramate), an
    pyridostigmine, and demecarium; an anti-inflmatory                      antiaryhthmic agent, a sodium channel blocking agent, a
    agent, such as, but not limited to, naproxen sodium,               55   selective inflammatory mediator inhibitor, an opioid agent, a
    diclofenac sodium, diclofenac potassium, celecoxib, sulin-              second immunomodulatory compound, a combination agent,
    dac, oxaprozin, diflunisal, etodolac, meloxicam, ibuprofen,             and other known or conventional agents used in sleep therapy.
    ketoprofen, nabumetone, refecoxib, methotrexate, lefluno-               Specific examples include, but are not limited to, Neurontin,
    mide, sulfasalazine, gold salts, Rho-D Immune Globulin,                 oxycontin, morphine, topiramate, amitryptiline, nortryp-
    mycophenylate mofetil, cyclosporine, azathioprine, tacroli-        60   tiline, carbamazepine, Levodopa, L-DOPA, cocaine, a-me-
    mus, basiliximab, daclizumab, salicylic acid, acetylsalicylic           thyl-tyrosine, reserpine, tetrabenazine, benzotropine, par-
    acid, methyl salicylate, diflunisal, salsalate, olsalazine, sul-        gyline, fenodolpam mesylate, cabergoline, pramipexole
    fasalazine, acetaminophen, indomethacin, sulindac, mefe-                dihydrochloride, ropinorole, amantadine hydrochloride, sel-
    namic acid, meclofenamate sodium, tolmetin, ketorolac,                  egiline hydrochloride, carbidopa, pergolide mesylate,
    dichlofenac, flurbinprofen, oxaprozin, piroxicam, meloxi-          65   Sinemet CR, Symmetrel, iproniazid, clorgyline, phenelzine,
    cam, ampiroxicam, droxicam, pivoxicam, tenoxicam, phe-                  isocarboxazid, tolcapone, entacapone, physostigmine sali-
    nylbutazone, oxyphenbutazone, antipyrine, aminopyrine,                  clate, physostigmine sulfate, physostigmine bromide, meo-
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    stigmine bromide, neostigmine methylsulfate, ambenonim                       In some embodiments, the active ingredients and excipi-
    chloride, edrophonium chloride, tacrine, pralidoxime chlo-                ents are directly blended and loaded into, for example, a
    ride, obidoxime chloride, trimedoxime bromide, diacetyl                   capsule, or compressed directly into tablets. A direct-blended
    monoxim, endrophonium, pyridostigmine, demecarium,                        dosage form may be more advantageous than a compacted
    naproxen sodium, diclofenac sodium, diclofenac potassium,                 (e.g., roller-compacted) dosage form in certain instances,
    celecoxib, sulindac, oxaprozin, diflunisal, etodolac, meloxi-             since direct-blending can reduce or eliminate the harmful
    cam, ibuprofen, ketoprofen, nabumetone, refecoxib, methotr-               health effects that may be caused by airborne particles of
    exate, leflunomide, sulfasalazine, gold salts, RHo-D Immune               ingredients during the manufacture using compaction pro-
    Globulin, mycophenylate mofetil, cyclosporine, azathio-                   cess.
    prine, tacrolimus, basiliximab, daclizumab, salicylic acid,          10      Direct blend formulations may be advantageous in certain
    acetylsalicylic acid, methyl salicylate, diflunisal, salsalate,           instances because they require only one blending step, that of
    olsalazine, sulfasalazine, acetaminophen, indomethacin,                   the active and excipients, before being processed into the final
    sulindac, mefenamic acid, meclofenamate sodium, tolmetin,                 dosage form, e.g., tablet or capsule. This can reduce the
    ketorolac, dichlofenac, flurbinprofen, oxaprozin, piroxicam,              production of airborne particle or dust to a minimum, while
    meloxicam, ampiroxicam, droxicam, pivoxicam, tenoxicam,              15   roller-compaction processes may be prone to produce dust. In
    phenylbutazone, oxyphenbutazone, antipyrine, aminopyrine,                 roller-compaction process, the compacted material is often
    apazone, zileuton, aurothioglucose, gold sodium thiomalate,               milled into smaller particles for further processing. The mill-
    auranofin, methotrexate, colchicine, allopurinol, probenecid,             ing operation can produce significant amounts of airborne
    sulfinpyrazone, benzbromarone, betamethasone and other                    particles, since the purpose for this step in manufacturing is to
    glucocorticoids, metoclopromide, domperidone, prochlor-              20   reduce the materials particle size. The milled material is then
    perazine, promethazine, chlorpromazine, trimetho benza-                   blended with other ingredients prior to manufacturing the
    mide, ondansetron, granisetron, hydroxyzine, acetylleucine                final dosage form.
    monoethanolamine, alizapride, azasetron, benzquinamide,                      For certain active ingredients, in particular for a compound
    bietanautine, bromopride, buclizine, clebopride, cyclizine,               with a low solubility, the active ingredient's particle size is
    dimenhydrinate, diphenidol, dolasetron, meclizine, methal-           25   reduced to a fine powder in order to help increase the active
    lata!, metopimazine, nabilone, oxyperndyl, pipamazine, sco-               ingredient's rate of solubilization. The increase in the rate of
    polamine, sulpiride, tetrahydrocarmabinol, thiethylperazine,              solubilization is often necessary for the active ingredient to be
    thioproperazine, tropisetron, and a mixture thereof.                      effectively absorbed in the gastrointestinal tract. However for
       Examples of second active agents that may be used for the              fine powders to be directly-blended and loaded onto capsules,
    treatment, prevention and/or management of hemoglobin-               30   the excipients should preferably provide certain characteris-
    apathy and related disorders include, but are not limited to:             tics which render the ingredients suitable for the direct-blend
    interleukins, such as IL-2 (including recombinant IL-II                   process. Examples of such characteristics include, but are not
    ("riL2") and canarypox IL-2), IL-l 0, IL-12, and IL-18; inter-            limited to, acceptable flow characteristics. In one embodi-
    ferons, such as interferon alfa-2a, interferon alfa-2b, inter-            ment, therefore, provided herein is the use of, and composi-
    feronalfa-nl, interferonalfa-n3, interferon beta-I a, and inter-     35   tions comprising, excipients which may provide characteris-
    feron gamma-! b; and G-CSF; hydroxyurea; butyrates or                     tics, which render the resulting mixture suitable for direct-
    butyrate derivatives; nitrous oxide; hydroxy urea;                        blend process, e.g., good flow characteristics.
    HEMOXIN™ (NIPRISAWM; see U.S. Pat. No. 5,800,819);                           4.2.1. Screening
    Gardos channel antagonists such as clotrimazole and triaryl                  The process for making the pharmaceutical compositions
    methane derivatives; Deferoxamine; protein C; and transfu-           40   of the invention preferably includes the screening of the
    sions of blood, or of a blood substitute such as Hemospan™                active ingredient and the excipient(s ). In one embodiment, the
    or Hemospan™ PS (Sangart).                                                active ingredient is passed through a screen having openings
                                                                              of about 200 microns to about 750 microns. In another
               4.2. Process for Making Dosage Forms                           embodiment, the active ingredient is passed through a screen
                                                                         45   with openings of about 200 microns to about 400 microns. In
       Dosage forms provided herein can be prepared by any of                 one embodiment, the active ingredient is passed through a
    the methods of pharmacy, but all methods include the step of              screen having openings of about 300 to about 400 microns.
    bringing the active ingredient into association with the excipi-          Depending on the excipient(s) used, the screen openings vary.
    ent, which constitutes one or more necessary ingredients. In              For example, disintegrants and binders are passed through
    general, the compositions are prepared by uniformly admix-           50   openings of about 430 microns to about 750 microns, from
    ing (e.g., direct blend) the active ingredient with liquid excipi-        about 600 microns to about 720 microns, or about 710
    ents or finely divided solid excipients or both, and then, if             microns. Lubricants are typically passed through smaller
    necessary, shaping the product into the desired presentation              openings, e.g., about 150 microns to about 250 microns
    (e.g., compaction such as roller-compaction). If desired, tab-            screen. In one embodiment, the lubricant is passed through a
    lets can be coated by standard aqueous or non-aqueous tech-          55   screen opening of about 210 microns.
    niques.                                                                      4.2.2. Pre-Blending
       A dosage form provided herein can be prepared by com-                     After the ingredients are screened, the excipient and active
    pression or molding, optionally with one or more accessory                ingredient are mixed in a diffusion mixer. In one embodiment,
    ingredients. Compressed tablets can be prepared by com-                   the mixing time is from about 1 minute to about 50 minutes,
    pressing in a suitable machine the active ingredient in a free-      60   from about 5 minutes to about 45 minutes, from about 10
    flowing form such as powder or granules, optionally mixed                 minutes to about 40 minutes, or from about 10 minutes to
    with an excipient as above and/or a surface active or dispers-            about 25 minutes. In another embodiment, the mixing time is
    ing agent. Molded tablets can be made by molding in a suit-               about 15 minutes.
    able machine a mixture of the powdered compound moist-                       When more than one excipients are used, the excipients
    ened with an inert liquid diluent. Encapsulation of the dosage       65   may be admixed in a tumble blender for about 1 minute to
    forms provided herein can be done using capsules of meth-                 about 20 minutes, or for about 5 minutes to about 10 minutes,
    ylcellulose, calcium alginate, or gelatin.                                prior to mixing with the active ingredient.
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                                  21                                                                    22
       4.2.3. Roller Compaction                                                Other cancers include, but are not limited to, advanced
       In one embodiment, the pre-blend may optionally be                   malignancy, amyloidosis, neuroblastoma, meningioma,
    passed through a roller compactor with a hammer mill                    hemangiopericytoma, multiple brain metastase, glioblastoma
    attached at the discharge of the compactor.                             multiforms, glioblastoma, brain stem glioma, poor prognosis
       4.2.4. Final Blend                                                   malignant brain tumor, malignant glioma, recurrent malig-
       When a lubricant, e.g., sodium stearyl fumarate, is used,            nant glioma, anaplastic astrocytoma, anaplastic oligodendro-
    the lubricant is mixed with the pre-blend at the end of the             glioma, neuroendocrine tumor, rectal adenocarcinoma,
    process to complete the pharmaceutical composition. This                Dukes C & D colorectal cancer, unresectable colorectal car-
    additional mixing is from about 1 minute to about 10 minutes,           cinoma, metastatic hepatocellular carcinoma, Kaposi's sar-
                                                                       10
    or from about 3 minutes to about 5 minutes.                             coma, karotype acute myeloblastic leukemia, chronic lym-
       4.2.5. Encapsulation                                                 phocytic leukemia (CLL), Hodgkin's lymphoma, non-
       The formulation mixture is then encapsulated into the                Hodgkin's lymphoma, cutaneous T-Cell lymphoma,
    desired size capsule shell using, for example, a capsule filling        cutaneous B-Cell lymphoma, diffuse large B-Cell lym-
    machine or a rotary tablet press.                                  15   phoma, low grade follicular lymphoma, metastatic melanoma
                                                                            (localized melanoma, including, but not limited to, ocular
                               4.3. Kits                                    melanoma), malignant mesothelioma, malignant pleural
                                                                            effusion mesothelioma syndrome, peritoneal carcinoma, pap-
       Pharmaceutical packs or kits which comprise pharmaceu-               illary serous carcinoma, gynecologic sarcoma, soft tissue
    tical compositions or dosage forms provided herein are also        20   sarcoma, scleroderma, cutaneous vasculitis, Langerhans cell
    provided. An example of a kit comprises notice in the form              histiocytosis, leiomyosarcoma, fibrodysplasia ossificans pro-
    prescribed by a governmental agency regulating the manu-                gressive, hormone refractory prostate cancer, resected high-
    facture, use or sale of pharmaceuticals or biological products,         risk soft tissue sarcoma, unrescectable hepatocellular carci-
    which notice reflects approval by the agency of manufacture,            noma, Waldenstrom's macroglobulinemia, smoldering
    use or sale for human administration.                              25   myeloma, indolent myeloma, fallopian tube cancer, androgen
                                                                            independent prostate cancer, androgen dependent stage IV
            4.4. Methods of Treatment, Prevention, and                      non-metastatic prostate cancer, hormone-insensitive prostate
                          Management                                        cancer, chemotherapy-insensitive prostate cancer, papillary
                                                                            thyroid carcinoma, follicular thyroid carcinoma, medullary
       Provided herein are methods of treating, preventing, and/or     30
                                                                            thyroid carcinoma, and leiomyoma. In a specific embodi-
    managing certain diseases or disorders using the formula-
                                                                            ment, the cancer is metastatic. In another embodiment, the
    tions, compositions, or dosage forms provided herein.
                                                                            cancer is refractory or resistance to chemotherapy or radia-
       Examples of diseases or disorders include, but are not
                                                                            tion.
    limited to, cancer, disorders associated with angiogenesis,
    pain including, but not limited to, Complex Regional Pain          35
                                                                               In one embodiment, the diseases or disorders are various
    Syndrome ("CRPS"), Macular Degeneration ("MD") and                      forms of leukemias such as chronic lymphocytic leukemia,
    related syndromes, skin diseases, pulmonary disorders,                  chronic myelocytic leukemia, acute lymphoblastic leukemia,
    asbestos-related disorders, parasitic diseases, immunodefi-             acute myelogenous leukemia and acute myeloblastic leuke-
    ciency disorders, CNS disorders, CNS injury, atherosclerosis            mia, including leukemias that are relapsed, refractory or
    and related disorders, dysfunctional sleep and related disor-      40   resistant, as disclosed in U.S. publication no. 2006/0030594,
    ders, hemoglobinopathy and related disorders (e.g., anemia),            published Feb. 9, 2006, which is incorporated in its entirety
    INFa related disorders, and other various diseases and disor-           by reference.
    ders.                                                                      The term "leukemia" refers malignant neoplasms of the
       Examples of cancer and precancerous conditions include,              blood-forming tissues. The leukemia includes, but is not lim-
    but are not limited to, those described in U.S. Pat. Nos. 6,281,   45   ited to, chronic lymphocytic leukemia, chronic myelocytic
    230 and 5,635,517 to Muller et a!., in various U.S. patent              leukemia, acute lymphoblastic leukemia, acute myelogenous
    publications to Zeldis, including publication nos. 2004/                leukemia and acute myeloblastic leukemia. The leukemia can
    0220144A1, published Nov. 4, 2004 (Treatment ofMyelod-                  be relapsed, refractory or resistant to conventional therapy.
    ysplastic Syndrome); 2004/0029832A1, published Feb. 12,                 The term "relapsed" refers to a situation where patients who
    2004 (Treatment of Various Types of Cancer); and 2004/             50   have had a remission of leukemia after therapy have a return
    0087546, published May 6, 2004 (Treatment of Myeloprolif-               of leukemia cells in the marrow and a decrease in normal
    erative Diseases). Examples also include those described in             blood cells. The term "refractory or resistant" refers to a
    WO 2004/103274, published Dec. 2, 2004. All of these ref-               circumstance where patients, even after intensive treatment,
    erences are incorporated herein in their entireties by refer-           have residual leukemia cells in their marrow.
    ence.                                                              55      In another embodiment, the diseases or disorders are vari-
       Certain examples of cancer include, but are not limited to,          ous types of lymphomas, including Non-Hodgkin's lym-
    cancers of the skin, such as melanoma; lymph node; breast;              phoma (NHL). The term "lymphoma" refers a heterogenous
    cervix; uterus; gastrointestinal tract; lung; ovary; prostate;          group of neoplasms arising in the reticuloendothelial and
    colon; rectum; mouth; brain; head and neck; throat; testes;             lymphatic systems. "NHL" refers to malignant monoclonal
    kidney; pancreas; bone; spleen; liver; bladder; larynx; nasal      60   proliferation oflymphoid cells in sites of the immune system,
    passages; and AIDS-related cancers. The compounds are also              including lymph nodes, bone marrow, spleen, liver and gas-
    useful for treating cancers of the blood and bone marrow, such          trointestinal tract. Examples of NHL include, but are not
    as multiple myeloma and acute and chronic leukemias, for                limited to, mantle cell lymphoma (MCL), lymphocytic lym-
    example, lymphoblastic, myelogenous, lymphocytic, and                   phoma of intermediate differentiation, intermediate lympho-
    myelocytic leukemias. The compounds provided herein can            65   cytic lymphoma (ILL), diffuse poorly differentiated lympho-
    be used for treating, preventing or managing either primary or          cytic lymphoma (PDL), centrocytic lymphoma, diffuse
    metastatic tumors.                                                      small-cleaved cell lymphoma (DSCCL), follicular lym-
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    phoma, and any type of the mantle cell lymphomas that can be             keratoses and related symptoms, skin diseases or disorders
    seen under the microscope (nodular, diffuse, blastic and                 characterized with overgrowths of the epidermis, acne, and
    mentle zone lymphoma).                                                   wrinkles.
        Examples of diseases and disorders associated with, or                  As used herein, the term "keratosis" refers to any lesion on
    characterized by, undesired angiogenesis include, but are not            the epidermis marked by the presence of circumscribed over-
    limited to, inflammatory diseases, autoimmune diseases,                  growths of the horny layer, including but not limited to actinic
    viral diseases, genetic diseases, allergic diseases, bacterial           keratosis, seborrheic keratosis, keratoacanthoma, keratosis
    diseases, ocular neovascular diseases, choroidal neovascular             follicularis (Darier disease), inverted follicular keratosis, pal-
    diseases, retina neovascular diseases, and rubeosis (neovas-             moplantar keratoderma (PPK, keratosis palmaris et planta-
    cularization of the angle). Specific examples of the diseases       10   ris), keratosis pilaris, and stucco keratosis. The term "actinic
    and disorders associated with, or characterized by, undesired            keratosis" also refers to senile keratosis, keratosis senilis,
    angiogenesis include, but are not limited to, arthritis,                 verruca senilis, plana senilis, solar keratosis, keratoderma or
    endometriosis. Crohn's disease, heart failure, advanced heart            keratoma. The term "seborrheic keratosis" also refers to seb-
    failure, renal impairment, endotoxemia, toxic shock syn-                 orrheic wart, senile wart, or basal cell papilloma. Keratosis is
    drome, osteoarthritis, retrovirus replication, wasting, menin-      15   characterized by one or more of the following symptoms:
    gitis, silica-induced fibrosis, asbestos-induced fibrosis, vet-          rough appearing, scaly, erythematous papules, plaques, spi-
    erinary disorder, malignancy-associated hypercalcemia,                   cules or nodules on exposed surfaces (e.g., face, hands, ears,
    stroke, circulatory shock, periodontitis, gingivitis, macro-             neck, legs and thorax), excrescences of keratin referred to as
    cytic anemia, refractory anemia, and 5q-deletion syndrome.               cutaneous horns, hyperkeratosis, telangiectasias, elastosis,
        Examples of pain include, but are not limited to those          20   pigmented lentigines, acanthosis, parakeratosis, dyskera-
    described in U.S. patent publication no. 2005/0203142, pub-              toses, papillomatosis, hyperpigmentation of the basal cells,
    lished Sep. 15, 2005, which is incorporated herein by refer-             cellular atypia, mitotic figures, abnormal cell-cell adhesion,
    ence. Specific types of pain include, but are not limited to,            dense inflammatory infiltrates and small prevalence of squa-
    nociceptive pain, neuropathic pain, mixed pain of nociceptive            mous cell carcinomas.
    and neuropathic pain, visceral pain, migraine, headache and         25      Examples of skin diseases or disorders characterized with
    post-operative pain.                                                     overgrowths of the epidermis include, but are not limited to,
        Examples of nociceptive pain include, but are not limited            any conditions, diseases or disorders marked by the presence
    to, pain associated with chemical or thermal burns, cuts of the          of overgrowths of the epidermis, including but not limited to,
    skin, contusions of the skin, osteoarthritis, rheumatoid arthri-         infections associated with papilloma virus, arsenical kera-
    tis, tendonitis, and myofascial pain.                               30   toses, sign of Leser-Tn§lat, warty dyskeratoma (WD), tricho-
        Examples of neuropathic pain include, but are not limited            stasis spinulosa (TS), erythrokeratodermia variabilis (EKV),
    to, CRPS type I, CRPS type II, reflex sympathetic dystrophy              ichthyosis fetalis (harlequin ichthyosis), knuckle pads, cuta-
    (RSD), reflex neurovascular dystrophy, reflex dystrophy,                 neous melanoacanthoma, parakeratosis, psoriasis, squamous
    sympathetically maintained pain syndrome, causalgia,                     cell carcinoma, confluent and reticulated papillomatosis
    Sudeck atrophy of bone, algoneurodystrophy, shoulder hand           35   (CRP), acrochordons, cutaneous horn, cowden disease (mul-
    syndrome, post-traumatic dystrophy, trigeminal neuralgia,                tiple hamartoma syndrome), dermatosis papulosa nigra
    post herpetic neuralgia, cancer related pain, phantom limb               (DPN), epidermal nevus syndrome (ENS), ichthyosis vul-
    pain, fibromyalgia, chronic fatigue syndrome, spinal cord                garis, molluscum contagiosum, prurigo nodularis, and acan-
    injury pain, central post-stroke pain, radiculopathy, diabetic           thosis nigricans (AN).
    neuropathy, post-stroke pain, luetic neuropathy, and other          40      Examples of pulmonary disorders include, but are not lim-
    painful neuropathic conditions such as those induced by                  ited to, those described in U.S. publication no. 2005/
    drugs such as vincristine and velcade.                                   0239842A1, published Oct. 27, 2005, which is incorporated
        As used herein, the terms "complex regional pain syn-                herein by reference. Specific examples include pulmonary
    drome," "CRPS" and "CRPS and related syndromes" mean a                   hypertension and related disorders. Examples of pulmonary
    chronic pain disorder characterized by one or more of the           45   hypertension and related disorders include, but are not limited
    following: pain, whether spontaneous or evoked, including                to: primary pulmonary hypertension (PPH); secondary pul-
    allodynia (painful response to a stimulus that is not usually            monary hypertension (SPH); familial PPH; sporadic PPH;
    painful) and hyperalgesia (exaggerated response to a stimulus            precapillary pulmonary hypertension; pulmonary arterial
    that is usually only mildly painful); pain that is disproportion-        hypertension (PAH); pulmonary artery hypertension; idio-
    ate to the inciting event (e.g., years of severe pain after an      50   pathic pulmonary hypertension; thrombotic pulmonary arte-
    ankle sprain); regional pain that is not limited to a single             riopathy (TPA); plexogenic pulmonary arteriopathy; func-
    peripheral nerve distribution; and autonomic dysregulation               tional classes I to IV pulmonary hypertension; and pulmonary
    (e.g., edema, alteration in blood flow and hyperhidrosis) asso-          hypertension associated with, related to, or secondary to, left
    ciated with trophic skin changes (hair and nail growth abnor-            ventricular dysfunction, mitral valvular disease, constrictive
    malities and cutaneous ulceration).                                 55   pericarditis, aortic stenosis, cardiomyopathy, mediastinal
        Examples of MD and related syndromes include, but are                fibrosis, anomalous pulmonary venous drainage, pulmonary
    not limited to, those described in U.S. patent publication no.           venoocclusive disease, collagen vascular disease, congenital
    2004/0091455, published May 13, 2004, which is incorpo-                  heart disease, HIV virus infection, drugs and toxins such as
    rated herein by reference. Specific examples include, but are            fenfluramines, congenital heart disease, pulmonary venous
    not limited to, atrophic (dry) MD, exudative (wet) MD, age-         60   hypertension, chronic obstructive pulmonary disease, inter-
    related maculopathy (ARM), choroidal neovascularisation                  stitial lung disease, sleep-disordered breathing, alveolar
    (CNVM), retinal pigment epithelium detachment (PED), and                 hypoventilation disorder, chronic exposure to high altitude,
    atrophy of retinal pigment epithelium (RPE).                             neonatal lung disease, alveolar-capillary dysplasia, sickle cell
        Examples of skin diseases include, but are not limited to,           disease, other coagulation disorder, chronic thromboemboli,
    those described in U.S. publication no. 2005/0214328A1,             65   connective tissue disease, lupus including systemic and cuta-
    published Sep. 29, 2005, which is incorporated herein by                 neous lupus, schistosomiasis, sarcoidosis or pulmonary cap-
    reference. Specific examples include, but are not limited to             illary hemangiomatosis.
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                                  25                                                                          26
        Examples of asbestos-related disorders include, but not              medullaris syndrome, cauda equina syndrome, neurogenic
    limited to, those described in U.S. publication no. 2005/                shock, spinal shock, altered level of consciousness, headache,
    0100529, published May 12, 2005, which is incorporated                   nausea, emesis, memory loss, dizziness, diplopia, blurred
    herein by reference. Specific examples include, but are not              vision, emotional lability, sleep disturbances, irritability,
    limited to, mesothelioma, asbestosis, malignant pleural effu-            inability to concentrate, nervousness, behavioral impairment,
    sion, benign exudative effusion, pleural plaques, pleural c~l­           cognitive deficit, and seizure.
    cification, diffuse pleural thickening, rounded atelectasis,                Other disease or disorders include, but not limited to, viral,
    fibrotic masses, and lung cancer.                                        genetic, allergic, and autoimmune diseases. Specific
        Examples of parasitic diseases include, but are not limited          examples include, but not limited to, HIV, hepatitis, adult
    to, those described in U.S. publication no. 2006/0154880,           10
                                                                             respiratory distress syndrome, bone resorption diseases,
    published Jul. 13, 2006, which is incorporated he.rein by                chronic pulmonary inflammatory diseases, dermatitis, cystic
    reference. Parasitic diseases include diseases and d1sorders             fibrosis, septic shock, sepsis, endotoxic shock, hemodynamic
    caused by human intracellular parasites such as, but not lim-            shock, sepsis syndrome, post ischemic reperfusion injury,
    ited to, P. falcifarium, P. ovale, P. vivax, P. malariae, L.             meningitis, psoriasis, fibrotic disease, cachexia, graft versus
    donovari, L. infantum, L. aethiopica, L. major, L. tropica, L.      15
                                                                             host disease, graft rejection, auto-immune disease, rheuma-
    mexicana, L. braziliensis, T. Gondii, B. microti, B. divergens,          toid spondylitis, Crohn's disease, ulcerative colitis, inflam-
    B. coli, C. parvum, C. cayetanensis, E. histolytica, Z belli, S.         matory-bowel disease, multiple sclerosis, systemic lupus
    mansonii, S. haematobium, Trypanosoma ssp., Toxoplasma                   erythrematosus, ENL in leprosy, radiation damage, cancer,
    ssp., and 0. volvulus. Other diseases and disorders caused by            asthma, or hyperoxic alveolar injury.
    non-human intracellular parasites such as, but not limited to,      20
                                                                                Examples of atherosclerosis and related conditions
    Babesia bovis, Babesia canis, Banesia Gibsoni, Besnoitia                 include, but are not limited to, those disclosed in U.S. publi-
    darlingi, Cytauxzoon felis, Eimeria ssp., Hammondia ssp.,                cation no. 2002/0054899, published May 9, 2002, which is
    and Theileria ssp., are also encompassed. Specific examples              incorporated herein by reference. Specific examples include,
    include, but are not limited to, malaria, babesiosis, trypano-           but are not limited to, all forms of conditions involving ath-
    somiasis, leishmaniasis, toxoplasmosis, meningoencephali-           25   erosclerosis, including restenosis after vascular intervention
    tis, keratitis, amebiasis, giardiasis, cryptosporidiosis, isospo-        such as angioplasty, stenting, atherectomy and grafting. All
    riasis,     cyclosporiasis,    microsporidiosis,     ascar~as!s,
                                                                             forms of vascular intervention are contemplated herein,
    trichuriasis, ancylostomiasis, strongyloidiasis, toxocanas1s,            including diseases of the cardiovascular and renal system,
    trichinosis, lymphatic filariasis, onchocerciasis, filariasis,           such as, but not limited to, renal angioplasty, percutaneous
    schistosomiasis, and dermatitis caused by animal schisto-           30
                                                                             coronary intervention (PCI), percutaneous transluminal coro-
    somes.                                                                   nary angioplasty (PTCA), carotid percutaneous transluminal
        Examples of immunodeficiency disorders include, but are              angioplasty (PTA), coronary by-pass grafting, angioplasty
    not limited to, those described in U.S. application Ser. No.             with stent implantation, peripheral percutaneous translumi-
    11/289,723, filed Nov. 30, 2005. Specific examples include,              nal intervention of the iliac, femoral or popliteal arteries, and
    but not limited to, adenosine deaminase deficiency, antibody        35
                                                                             surgical intervention using impregnated artificial grafts. The
    deficiency with normal or elevated Igs, ataxia-tenlangiecta-             following chart provides a listing of the major systemic arter-
    sia, bare lymphocyte syndrome, common variable immun?-                   ies that may be in need of treatment, all of which are contem-
    deficiency, Ig deficiency with hyper-IgM, Ig heavy cham                  plated herein:
    deletions, IgA deficiency, immunodeficiency with thymoma,
    reticular dysgenesis, Nezelof syndrome, selective IgG sub-          40
    class deficiency, transient hypogammaglobulinemia of                     Artery               Body Areas Supplied
    infancy, Wistcott-Aldrich syndrome, X-linked agamma-
    globulinemia, X-linked severe combined immunodeficiency.               Axillary               Shoulder and axilla
                                                                           Brachial               Upper arm
        Examples of CNS disorders include, but are not limited to,         Brachiocephalic        Head, neck, and ann
    those described in U.S. publication no. 2005/0143344, pub-          45 Celiac                 Divides into left gastric, splenic, and hepatic arteries
    lished Jun. 30, 2005, which is incorporated herein by refer-             Common carotid       Neck
    ence. Specific examples include, but are not limited to,                 Common iliac         Divides into external and internal iliac arteries
                                                                           Coronary               Heart
    include, but are not limited to, Amyotrophic Lateral Sclerosis,        Deep femoral           Thigh
    Alzheimer Disease, Parkinson Disease, Huntington's Dis-                Digital                Fingers
    ease, Multiple Sclerosis other neuroimmunological disorders         50 Dorsalis pedis         Foot
    such as Tourette Syndrome, delerium, or disturbances in con-           External carotid       Neck and external head regions
                                                                           External iliac         Femoral artery
    sciousness that occur over a short period of time, and amnes-            Femoral              Thigh
    tic disorder, or discreet memory impairments that occur in the           Gastric              Stomach
    absence of other central nervous system impairments.                   Hepatic                Liver, gallbladder, pancreas, and duodenwn
        Examples of CNS injuries and related syndromes include,         55 Inferior mesenteric    Descending colon, rectum, and pelvic wall
                                                                           Internal carotid       Neck and internal head regions
    but are not limited to, those described in U.S. publication no.          Internal iliac       Rectum, urinary bladder, external genitalia,
    2006/0122228, published Jun. 8, 2006, which is incorporated                                   buttocks muscles, uterus and vagina
    herein by reference. Specific examples include, but are not              Left gastric         Esophagus and stomach
    limited to, CNS injury/damage and related syndromes,                     Middle sacral        Sacrum
                                                                             Ovarian              Ovaries
    include, but are not limited to, primary brain injury, second-      60
                                                                             Palmar arch          Hand
    ary brain injury, traumatic brain injury, focal brain injury,            Peroneal             Calf
    diffuse axonal injury, head injury, concussion, post-concus-             Popliteal            Knee
    sion syndrome, cerebral contusion and laceration, subdural               Posterior tibial     Calf
                                                                           Pulmonary              Lungs
    hematoma, epidermal hematoma, post-traumatic epilepsy,                 Radial                 Forearm
    chronic vegetative state, complete SCI, incomplete SCI, acute       65 Renal                  Kidney
    SCI, subacute SCI, chronic SCI, central cord syndrome,                 Splenic                Stomach, pancreas, and spleen
    Brown-Sequard syndrome, anterior cord syndrome, conus
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                                                                  US 8,828,427 B2
                                     27                                                                                       28
                                -continued                                           and sepsis syndrome, post ischemic reperfusion injury,
                                                                                     malaria, mycobacterial infection, meningitis, psoriasis, con-
    Artery                Body Areas Supplied                                        gestive heart failure, fibrotic disease, cachexia, graft rejec-
    Subclavian            Shoulder                                                   tion, oncogenic or cancerous conditions, asthma, autoim-
    Superior mesenteric   Pancreas, small intestine, ascending and transverse        mune disease, radiation damages, and hyperoxic alveolar
                          colon                                                      injury; viral infections, such as those caused by the herpes
    Testicular            Testes
    Ulnar                 Forearm
                                                                                     viruses; viral conjunctivitis; or atopic dermatitis.
                                                                                        In other embodiments, the use of formulations, composi-
                                                                                     tions or dosage forms provided herein in various immuno-
        Examples of dysfunctional sleep and related syndromes                   10   logical applications, in particular, as vaccine adjuvants, par-
    include, but are not limited to, those disclosed in U.S. publi-                  ticularly anticancer vaccine adjuvants, as disclosed in U.S.
    cationno. 2005/0222209A1, published Oct. 6, 2005, which is                       Publication No. 2007/0048327, published Mar. 1, 2007,
    incorporated herein by reference. Specific examples include,                     which is incorporated herein in its entirety by reference, is
    but are not limited to, snoring, sleep apnea, insonmia, narco-                   also encompassed. These embodiments also relate to the uses
                                                                                15
    lepsy, restless leg syndrome, sleep terrors, sleep walking                       of the compositions, formulations, or dosage forms provided
    sleep eating, and dysfunctional sleep associated with chronic                    herein in combination with vaccines to treat or prevent cancer
    neurological or inflammatory conditions. Chronic neurologi-                      or infectious diseases, and other various uses such as reduc-
    cal or inflammatory conditions, include, but are not limited to,                 tion or desensitization of allergic reactions.
    Complex Regional Pain Syndrome, chronic low back pain,                      20
    musculoskeletal pain, arthritis, radiculopathy, pain associ-                                                     5. EXAMPLES
    ated with cancer, fibromyalgia, chronic fatigue syndrome,
    visceral pain, bladder pain, chronic pancreatitis, neuropathies                     Embodiments provided herein may be more fully under-
    (diabetic, post-herpetic, traumatic or inflammatory), and neu-                   stood by reference to the following examples. These
    rodegenerative disorders such as Parkinson's Disease, Alzhe-                25   examples are meant to be illustrative of pharmaceutical com-
    imer's Disease, amyotrophic lateral sclerosis, multiple scle-                    positions and dosage forms provided herein, but are not in any
    rosis, Huntington's Disease, bradykinesia; muscle rigidity;                      way limiting.
    parkinsonian tremor; parkinsonian gait; motion freezing;
    depression; defective long-term memory, Rubinstein-Taybi                                                         5.1 Example 1
    syndrome (RTS); dementia; postural instability; hypokinetic                 30
    disorders; synuclein disorders; multiple system atrophies;                               0.5 mg Strength Pomalidomide Dosage Capsule
    striatonigral degeneration; olivopontocerebellar atrophy;
    Shy-Drager syndrome; motor neuron disease with parkinso-                           Table 1 illustrates a batch formulation and single dosage
    nian features; Lewy body dementia; Tau pathology disorders;                      formulation for a 0.5 mg strength pomalidomide single dose
    progressive supranuclear palsy; corticobasal degeneration;                  35   unit in a size #4 capsule.
    frontotemporal dementia; amyloid pathology disorders; mild
    cognitive impairment; Alzheimer disease with parkinsonism;                                                           TABLE 1
    Wilson disease; Hallervorden-Spatz disease; Chediak-Ha-
                                                                                                 Formulation for 0.5 mg strength pomolidomide capsule
    gashi disease; SCA-3 spinocerebellar ataxia; X-linked dysto-
    nia parkinsonism; prion disease; hyperkinetic disorders; cho-               40                                                     Percent By       Quantity
    rea; ballismus; dystonia tremors; Amyotrophic Lateral                            Material                                          Weight           (mg/capsule)
    Sclerosis (ALS); CNS trauma and myoclonus.
                                                                                   Pomolidomide                                             ~1%          0.5*
        Examples of hemoglobinopathy and related disorders                         Starch 1500                                             56%          35
    include, but are not limited to, those described in U.S. publi-                Sodium Stearyl Fumarate (PRUV)                        -0.3%           0.16
    cation no. 2005/0143420A1, published Jun. 30, 2005, which                   45 Spray Dried Mannitol (Manno gem EZ)                 remainder        remainder
    is incorporated herein by reference. Specific examples
                                                                                     Total                                               100.0%         62.5
    include, but are not limited to, hemoglobinopathy, sickle cell
    anemia, and any other disorders related to the differentiation                   *Denotes amount ofpomolidomide that corresponds to the amount that provides the potency
                                                                                     of0.5 mg ofpomolidomide.
    of CD34+ cells.
        Examples of TNF a related disorders include, but are not                50      Pomalidomide was passed through a 35-mesh screen.
    limited to, those described in WO 98/03502 and WO                                Mannitol and starch were each separately passed through a
    98/54170, both of which are incorporated herein in their                         25-mesh screen. Pomalidomide was pre-blended with a por-
    entireties by reference. Specific examples include, but are not                  tion of mannitol and starch. The pre-blend was milled through
    limited to: endotoxemia or toxic shock syndrome; cachexia;                       a 0.039 inch screen. The remainder of the mannitol and starch
    adult respiratory distress syndrome; bone resorption diseases               55   was also milled through a 0.039 inch screen. The pre-blend
    such as arthritis; hypercalcemia; Graft versus Host Reaction;                    was blended with the reminder of mannitol and starch. To this
    cerebral malaria; inflammation; tumor growth; chronic pul-                       blend, sodium fumarate, which was passed through a 60 mesh
    monary inflammatory diseases; reperfusion injury; myocar-                        screen, was further blended. The final blend was encapsulated
    dial infarction; stroke; circulatory shock; rheumatoid arthri-                   into a size #4 capsule.
    tis; Crohn' s disease; HIV infection and AIDS; other disorders              60
    such as rheumatoid arthritis, rheumatoid spondylitis, osteoar-                                                   5.2 Example 2
    thritis, psoriatic arthritis and other arthritic conditions, septic
    shock, septis, endotoxic shock, graft versus host disease,                                  1 mg Strength Pomalidomide Dosage Capsule
    wasting, Crohn's disease, ulcerative colitis, multiple sclero-
    sis, systemic lupus erythromatosis, ENL in leprosy, HIV,                    65     Table 2 illustrates a batch formulation and single dosage
    AIDS, and opportunistic infections in AIDS; disorders such                       formulation for a 1 mg strength pomalidomide single dose
    as septic shock, sepsis, endotoxic shock, hemodynamic shock                      unit in a size #4 capsule.
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                                                                             US 8,828,427 B2
                                             29                                                                                             30
                                        TABLE2                                                                                         TABLE4
                 Formulation for 1 mg strength pomolidomide capsule                                             Formulation for 3 mg strength pomolidomide capsule

                                                      Percent By       Quantity                                                                      Percent By       Quantity
    Material                                          Weight           (mg/ capsule)               Material                                          Weight           (mg/capsule)

    Pomolidomide                                           ~1%           1*                        Pomolidomide                                        -1.6%            3*
    Starch 1500                                           56%           70                         Starch 1500                                           56%          100.8
    Sodium Stearyl Fumarate (PRUV)                      -0.3%            0.32                      Sodium Stearyl Fumarate (PRUV)                      -0.3%            0.45
    Spray Dried Mannitol (Manno gem EZ)               remainder        remainder                   Spray Dried Mannitol (Manno gem EZ)               remainder        remainder
                                                                                              10
    Total                                               100.0%         125                         Total                                               100.0%         180

    *Denotes amount ofpomolidomide that corresponds to the amount that provides the potency        *Denotes amount ofpomolidomide that corresponds to the amount that provides the potency
    of 1 mg of pomolidomide.                                                                       of 3 mg of pomolidomide.


       Pomalidomide was passed through a 35-mesh screen.                                      15
                                                                                                      Pomalidomide was passed through a 35-mesh screen.
    Mannitol and starch were each separately passed through a                                      Mannitol and starch were each separately passed through a
    25-mesh screen. Pomalidomide was pre-blended with a por-                                       25-mesh screen. Pomalidomide was pre-blended with a por-
    tion of mannitol and starch. The pre-blend was milled through                                  tion of mannitol and starch. The pre-blend was milled through
    a 0.03 9 inch screen. The remainder of the mannitol and starch                                 a 0.039 inch screen. The remainder of the mannitol and starch
    was also milled through a 0.039 inch screen. The pre-blend                                20   was also milled through a 0.039 inch screen. The pre-blend
    was blended with the reminder of mannitol and starch. To this                                  was blended with the reminder of mannitol and starch. To this
    blend, sodium fumarate, which was passed through a 60 mesh                                     blend, sodium fumarate, which was passed through a 60 mesh
    screen, was further blended. The final blend was encapsulated                                  screen, was further blended. The final blend was encapsulated
    into a size #4 capsule.                                                                        into a size #2 capsule.
                                                                                              25
                                     5.3 Example 3                                                                                 5.5 Example 5


               2 mg Strength Pomalidomide Dosage Capsule                                                      4 mg Strength Pomalidomide Dosage Capsule
                                                                                              30
       Table 3 illustrates a batch formulation and single dosage                                     Table 5 illustrates a batch formulation and single dosage
    formulation for a 2 mg pomalidomide single dose unit in a                                      formulation for a 0.5 mg strength pomalidomide single dose
    size #2 capsule.                                                                               unit in a size #2 capsule.

                                        TABLE3                                                35                                       TABLES
                 Formulation for 2 mg strength pomolidomide capsule                                             Formulation for 4 mg strength pomolidomide capsule

                                                      Percent By       Quantity                                                                      Percent By       Quantity
    Material                                          Weight           (mg/ capsule)               Material                                          Weight           (mg/capsule)
                                                                                              40
    Pomolidomide                                           ~1%           2*                        Pomolidomide                                        -1.6%            4*
    Starch 1500                                           56%          140                         Starch 1500                                           56%          134.4
    Sodium Stearyl Fumarate (PRUV)                      -0.3%            0.64                      Sodium Stearyl Fumarate (PRUV)                      -0.3%            0.6
    Spray Dried Mannitol (Manno gem EZ)               remainder        remainder                   Spray Dried Mannitol (Manno gem EZ)               remainder        remainder

    Total                                               100.0%         250                    45 Total                                                 100.0%         240

    *Denotes amount ofpomolidomide that corresponds to the amount that provides the potency        *Denotes amount ofpomolidomide that corresponds to the amount that provides the potency
    of2 mg ofpomolidomide.                                                                         of 4 mg of pomolidomide.


       Pomalidomide was passed through a 35-mesh screen.                                              Pomalidomide was passed through a 35-mesh screen.
    Mannitol and starch were each separately passed through a                                 50
                                                                                                   Mannitol and starch were each separately passed through a
    25-mesh screen. Pomalidomide was pre-blended with a por-                                       25-mesh screen. Pomalidomide was pre-blended with a por-
    tion of mannitol and starch. The pre-blend was milled through                                  tion of mannitol and starch. The pre-blend was milled through
    a 0.03 9 inch screen. The remainder of the mannitol and starch                                 a 0.039 inch screen. The remainder of the mannitol and starch
    was also milled through a 0.039 inch screen. The pre-blend                                     was also milled through a 0.039 inch screen. The pre-blend
    was blended with the reminder of mannitol and starch. To this                             55
                                                                                                   was blended with the reminder of mannitol and starch. To this
    blend, sodium fumarate, which was passed through a 60 mesh                                     blend, sodium fumarate, which was passed through a 60 mesh
    screen, was further blended. The final blend was encapsulated                                  screen, was further blended. The final blend was encapsulated
    into a size #2 capsule.                                                                        into a size #2 capsule.

                                     5.4 Example 4                                            60                                   5.6 Example 6


               3 mg Strength Pomalidomide Dosage Capsule                                                      5 mg Strength Pomalidomide Dosage Capsule

       Table 4 illustrates a batch formulation and single dosage                              65      Table 6 illustrates a batch formulation and single dosage
    formulation for a 0.5 mg strength pomalidomide single dose                                     formulation for a 5 mg pomalidomide single dose unit in a
    unit in a size #2 capsule.                                                                     size #1 capsule.
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                                                                             US 8,828,427 B2
                                             31                                                                                 32
                                        TABLE4                                                        What is claimed is:
                                                                                                      1. An oral dosage form in the form of a capsule which
                 Formulation for 5 mg strength pomolidomide capsule                                weighs 62.5 mg and comprises: 1) pomalidomide, or a phar-
                                                      Percent By       Quantity                    maceutically acceptable salt or solvate thereof, at an amount
    Material                                          Weight           (mg/ capsule)               that provides 0.5 mg of 100% pure pomalidomide; 2) prege-
                                                                                                   latinized starch at an amount of 35 mg; 3) sodium stearyl
    Pomolidomide                                           ~2%           5*
    Starch 1500                                           56%          168
                                                                                                   fumarate at an amount of0.16 mg; and 4) spray dried man-
    Sodium Stearyl Fumarate (PRUV)                      -0.3%            0.75                      nitol at an amonnt that brings the total weight of the compo-
    Spray Dried Mannitol (Manno gem EZ)               remainder        remainder                   sition to 62.5 mg.
                                                                                              10      2. The dosage form of claim 1, which is to be administered
    Total                                               100.0%         300
                                                                                                   in the form of a size 4 or larger capsule.
    *Denotes amount ofpomolidomide that corresponds to the amount that provides the potency           3. An oral dosage form in the form of a capsule which
    of 5 mg of pomolidomide.
                                                                                                   weighs 125 mg and comprises: 1) pomalidomide, or a phar-
       Pomalidomide was passed through a 35-mesh screen.                                           maceutically acceptable salt or solvate thereof, at an amount
    Mannitol and starch were each separately passed through a                                 15   that provides 1 mg of 100% pure pomalidomide; 2) pregela-
    25-mesh screen. Pomalidomide was pre-blended with a por-                                       tinized starch at an amonnt of 70 mg; 3) sodium stearyl
    tion of mannitol and starch. The pre-blend was milled through                                  fumarate at an amount of 0.32 mg; and 4) spray dried man-
    a 0.03 9 inch screen. The remainder of the mannitol and starch                                 nitol at an amonnt that brings the total weight of the compo-
    was also milled through a 0.039 inch screen. The pre-blend                                     sition to 125 mg.
    was blended with the reminder of mannitol and starch. To this                             20      4. The dosage form of claim 3, which is to be administered
    blend, sodium fumarate, which was passed through a 60 mesh                                     in the form of a size 4 or larger capsule.
    screen, was further blended. The final blend was encapsulated                                     5. An oral dosage form in the form of a capsule which
    into a size #1 capsule.                                                                        weighs 250 mg and comprises: 1) pomalidomide, or a phar-
                                                                                                   maceutically acceptable salt or solvate thereof, at an amount
                                     5.7 Example 7                                            25   that provides 2 mg of 100% pure pomalidomide; 2) pregela-
                                                                                                   tinized starch at an amount of 140 mg; 3) sodium stearyl
                              Stability ofF ormulation                                             fumarate at an amount of 0.64 mg; and 4) spray dried man-
                                                                                                   nitol at an amonnt that brings the total weight of the compo-
       Accelerated stability was assessed under 40° C./75% RH,                                     sition to 250 mg.
    and levels of impurities over the time period of initial, 1                               30      6. The dosage form of claim 5, which is to be administered
    month, 3 months, and 6 months were determined. Long term                                       in the form of a size 2 or larger capsule.
    stability under 25° C./60% RH is also assessed during 0-24                                        7. An oral dosage form in the form of a capsule which
    months. For determination of the level of Impurities, an                                       weighs 180 mg and comprises: 1) pomalidomide, or a phar-
    HPLC gradient method was employed using the following                                          maceutically acceptable salt or solvate thereof, at an amount
    conditions:                                                                               35   that provides 3 mg of 100% pure pomalidomide; 2) pregela-
                                                                                                   tinized starch at an amount of 100.8 mg; 3) sodium stearyl
                                                                                                   fumarate at an amount of 0.45 mg; and 4) spray dried man-
    Column:                  Zorbax SB-CN, 150 mm x 4.6 mm id, 5 f1II1                             nitol at an amonnt that brings the total weight of the compo-
                             particle size
    Temperature:             Ambient
                                                                                                   sition to 180 mg.
    Mobile Phase:            A: 10/90 methanol/0.1% trifluoroacetic acid                      40      8. The dosage form of claim 7, which is to be administered
                             B: 80/20 methanol/0.1% trifluoroacetic acid                           in the form of a size 2 or larger capsule.
    Gradient Profile:        Time (min)             %A              %B                                9. An oral dosage form in the form of a capsule which
                             0                      90              10
                                                    90              10
                                                                                                   weighs 240 mg and comprises: 1) pomalidomide, or a phar-
                             50                     20              80                             maceutically acceptable salt or solvate thereof, at an amount
                             51                     90              10                        45   that provides 4 mg of 100% pure pomalidomide; 2) pregela-
                             60                     90              10                             tinized starch at an amount of 134.4 mg; 3) sodium stearyl
    Flow Rate:               l.OmL/min
    Injection Volume:        25 f!L
                                                                                                   fumarate at an amount of0.6 mg; and 4) spray dried mannitol
    Detection:               UV, 240nm                                                             at an amount that brings the total weight of the composition to
    Run Time:                60 minutes.                                                           240mg.
                                                                                              50      10. Thedosageformofclaim9, which is to be administered
       From the experiments, it was observed that the impurities                                   in the form of a size 2 or larger capsule.
    in the formulation provided herein stayed negligent through-                                      11. An oral dosage form in the form of a capsule which
    out the time period investigated. The performance character-                                   weighs 300 mg and comprises: 1) pomalidomide, or a phar-
    istics of the dosage also maintained throughout the time                                       maceutically acceptable salt or solvate thereof, at an amount
                                                                                              55   that provides 5 mg of 100% pure pomalidomide; 2) pregela-
    period investigated. These results show that the formulations
    provided herein have adequate stability for clinical and other                                 tinized starch at an amount of 168 mg; 3) sodium stearyl
    uses.                                                                                          fumarate at an amount of 0.75 mg; and 4) spray dried man-
       While examples of certain particular embodiments are pro-                                   nitol at an amonnt that brings the total weight of the compo-
    vided herein, it will be apparent to those skilled in the art that                             sition to 300 mg.
    various changes and modifications may be made. Such modi-
                                                                                              60      12. The dosage form of claim 11, which is to be adminis-
    fications are also intended to fall within the scope of the                                    tered in the form of a size 1 or larger capsule.
    appended claims.                                                                                                      * * * * *
